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1                       UNITED STATES DISTRICT COURT
2                     NORTHERN DISTRICT OF CALIFORNIA
3                                     - -    -
4      PAULINE M. VELEZ,
5                   Plaintiff,                      No. 4:20-cv-05170-KAW
6      vs.
7      DEPARTMENT OF VETERANS AFFAIRS,
       ET AL.,
8
                    Defendants.
9      _______________________________/
10
11
12
13
                                 DEPOSITION OF
14
                                  SCOTT HUNDAHL
15
                              APPEARING REMOTELY
16
                           MONDAY, NOVEMBER 1, 2021
17
18
19
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21
22     Atkinson-Baker, a Veritext Company
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24     REPORTED BY:     JOANNE BALBONI, CSR NO. 10206
25     FILE NO.:    4949586

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1                       UNITED STATES DISTRICT COURT
2                     NORTHERN DISTRICT OF CALIFORNIA
3                                     - -    -
4      PAULINE M. VELEZ,
5                   Plaintiff,                      No. 4:20-cv-05170-KAW
6      vs.
7      DEPARTMENT OF VETERANS AFFAIRS,
       ET AL.,
8
                    Defendants.
9      _______________________________/
10
11
12
13
14                Deposition of SCOTT HUNDAHL, taken remotely on
15     behalf of Plaintiff, commencing at 9:32 a.m., Monday,
16     November 1, 2021, before Joanne Balboni, CSR No. 10206.
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1                                    I N D E X
2      WITNESS: SCOTT HUNDAHL
3      Examination                                                    Page
4           By Mr. Hoyer                                                 5
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6
7                                   EXHIBITS
8      MARKED                     PLAINTIFF'S                         PAGE
                                   EXHIBITS
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       Exhibit 1    Document entitled "Memorandum"
10                  dated 08-20-2019                                        44
11     Exhibit 2    Correspondence dated 27 August 2018                     52
12     Exhibit 3    Document entitled "Memorandum"
                    dated 09-27-1018                                        55
13
       Exhibit 4    Photocopy of e-mail dated Friday,
14                  September 28, 2018                                      56
15     Exhibit 5    Photocopy of e-mail dated Monday,
                    May 13, 2019                                            59
16
       Exhibit 6    Document entitled "Investigative
17                  Report in the Matter of the EEO
                    Complaint of Discrimination of
18                  Pauline Velez"                                          70
19     Exhibit 7    Document entitled "Pending
                    Appointment Summary by Service"                         72
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21                  Completed Summary"                                      78
22     Exhibit 9    Correspondence dated November 22,
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       Exhibit 10 Document entitled "Review Team
24                Report-Northern California Health
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1      (Whereupon the witness was sworn to affirm to tell the
       truth, the whole truth and nothing but the truth.)
2
              REPORTED REMOTELY FROM FAIRFIELD, CALIFORNIA
3
4                           MONDAY, NOVEMBER 1, 2021
5                                 EXAMINATION
6      BY MR. HOYER:
7            Q.   Dr. Hundahl, I'm Richard Hoyer.              I represent
8      the plaintiff in this action, Pauline Velez.                I
9      understand that you are represented by counsel, Ms.
10     Lincoln.
11                Kelley, could you state your appearance for the
12     record?
13                MS. LINCOLN:      Yes.     Kelley Lincoln with Boutin
14     Jones in Sacramento, California, appearing on behalf of
15     Dr. Hundahl.
16                MR. HOYER:     All right.      Thanks.       Valerie, just
17     for tidiness' sake, do you want to state your
18     appearance?
19                MS. SMITH:     Yes.      For defendant, Valerie Smith
20     present.    I'm making objections on behalf of defendant.
21                                EXAMINATION
22     BY MR. HOYER:
23           Q.   Okay.    Dr. Hundahl, have you ever had your
24     deposition taken before?
25           A.   Yes, sir.

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1             Q.   When was the last time?

2             A.   Oh, wow.    Either late 2018 or maybe two

3      thousand -- actually, no.          I think it was maybe 2017 or

4      '18.

5             Q.   Okay.    What was the occasion for that?

6             A.   It was an action by an anesthesiologist against

7      the Department of Veterans Affairs.

8             Q.   And were you named as a defendant in that

9      action?

10            A.   Yes.    I was and eventually dismissed, but I was

11     named in the original action.

12            Q.   Were you dismissed after a settlement of the

13     action?

14            A.   I don't know that detail for sure.

15            Q.   Okay.    Did the Department of Veterans Affairs

16     defend you in that action?

17            A.   Yeah.    I think the VA defended me, and I

18     defended the VA.

19            Q.   Okay.    What were the allegations in that action

20     against you, to your knowledge?

21            A.   I don't remember.        It's a matter of public

22     record if you are interested.

23            Q.   Well, I'm interested in your memory.

24                 So you don't have any idea what you were

25     accused of in that case?

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1            A.   Specifically, no.

2            Q.   Generally?

3            A.   It was an employment issue, and the individual

4      had been dismissed from the Department of Veterans

5      Affairs.

6            Q.   And was the allegation that you discriminated

7      against that individual in some way?

8            A.   I don't think it was discriminatory accusation.

9      I can't remember, but I think it was some type of

10     employment law thing.

11           Q.   Okay.    Well, let me go over the ground rules of

12     the deposition just to refresh your recollection.              Now,

13     Ms. Balboni is taking down everything that's said here.

14     For that reason -- you know, she's got a machine that is

15     in front of her.      You can't see it like a normal

16     deposition, but she is typing out basically everything

17     that's said.

18                For that reason, it's important to remember a

19     couple of things.       One is that only one person can speak

20     at any one time.      She can't take down two people talking

21     at once.    So if you can wait until I finish asking a

22     question before you start to answer, that will help her.

23                A lot of times in conversation, if you think

24     you know where a question is going, you'll just jump in

25     to be helpful, but that doesn't work in this context.

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1      If I interrupt you before you finish an answer, please

2      say so.    I don't mean to.        I'm happy to let you finish

3      your answer.

4                 Pausing before answering the question also

5      allows your attorney, Ms. Lincoln, to state any

6      objections for the record, and the US Attorney, Ms.

7      Smith, to state her objections for the record.             You are

8      obligated to answer the question unless you don't

9      understand it.

10                Do you understand, sir?

11           A.   Yes, sir.

12           Q.   Okay.     Now, do you have anything like a cell

13     phone or a laptop or iPad in front of you?

14           A.   I have a cell phone.          Do you need the number?

15           Q.   No.     I'd ask you to turn the cell phone off.

16           A.   Okay.

17           Q.   Don't have it in front of you while you are

18     testifying.

19           A.   All right.      What if I put do not disturb on it?

20     Is that good enough?

21           Q.   As long as it doesn't interrupt, as long as you

22     can't communicate with it while you are testifying,

23     that's fine.

24           A.   All right.

25           Q.   Similarly, do you have any notes or anything in

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1      front of you?

2            A.    I got a pen and paper, and the notes for this

3      Zoom meeting.

4            Q.    Okay.    Just the information about the Zoom

5      meeting number and that sort of thing?

6            A.    Correct.    Plus, of course the keyboard and the

7      computer.

8            Q.    Okay.    If you'd like to communicate with your

9      attorney or anyone else for that matter, you can ask to

10     take a break.       I'm happy to give you a break to confer

11     with anybody or to, you know, use the restroom or

12     anything you need, but I'd ask that you finish answering

13     any pending question before you take a break.             Okay?

14           A.    Sure.

15           Q.    Okay.    The other thing about the court reporter

16     is that she can't take down nonverbal answers.             So you

17     cannot respond by nodding your head, shrugging your

18     shoulders, saying uh-huh, or something like that.              Okay?

19           A.    Okay.

20           Q.    Now, when we're done here today, the court

21     reporter will type up everything into a booklet and

22     provide it to your attorney for your review.             At that

23     point, you can make changes to your testimony.

24                 If during the course of today you recall that

25     an earlier answer has to be changed or amended in any

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1      way, just say so.       I'm happy to give you the opportunity

2      to do that.       Because if you change your testimony later,

3      I can comment on the fact that you changed your

4      testimony to the jury if this case goes to trial.               Okay?

5            A.   Yes.

6            Q.   Now, is there any reason that you can't give

7      your fullest and best testimony today?               For example, are

8      you on any medication that may affect your ability to

9      remember or ability to think?

10           A.   I'm on no medications.

11           Q.   Okay.     Now, earlier you --

12           A.   Other than my blood pressure medicine.             I'm

13     sorry.

14           Q.   Okay.

15           A.   Sir?

16           Q.   Yeah.

17           A.   I should also note for the record that I do not

18     have access to any VA or federal computer system or

19     federal records or anything like that.               As I'm sure you

20     know, I retired from the VA in 2019.

21           Q.   Right.     I do know that.

22                Now, in preparation for your testimony today,

23     did you talk to anybody other than your attorney?

24           A.   No.

25           Q.   Okay.     Did you review any documents in

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1      preparation for your testimony today?

2            A.   No.

3            Q.   Now, earlier you said that you weren't sure

4      whether you testified previously in 2018 or 2017, and

5      that's perfectly fine as an answer.             If you are not sure

6      about an exact date or something like that, I don't want

7      you to guess, but I am entitled to your best estimate.

8            A.   Okay.

9            Q.   All right.     Now, let's see.        Let's go back and

10     get a little bit of your background.

11                MS. SMITH:     For the record, I see another

12     individual has entered the Zoom room with the name of

13     Michael Remler.

14                THE WITNESS:      Mike is a VA employee, but he's

15     also or was at least married to Dr. Velez.

16                MS. SMITH:     Yes.    Thank you, Dr. Hundahl.       Just

17     one second.      Let me finish.      In fact, that is Dr.

18     Rembler.    He is an appropriate party at the deposition,

19     MD.   He is a non-party witness, non-party to this case

20     --

21                MS. VELEZ:     It's Pauline actually.

22                THE WITNESS:      Hi, Pauline.

23     BY MR. HOYER:

24           Q.   Dr. Hundahl, what was the date of your

25     retirement from the VA?

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1              A.   November 30th, 2019 was the official date.

2              Q.   Okay.   And was there a reason that you retired

3      on that date?

4              A.   No, other than an HR recommendation.

5              Q.   And what was the HR recommendation?

6              A.   That that date was in sync with my retirement

7      plans, better.       It was an administrative thing.

8              Q.   Did anyone prior to that date suggest that it

9      would be best if you did retire?

10             A.   No.

11             Q.   Okay.   When did you first begin working for the

12     VA?

13             A.   The fall of 2002.

14             Q.   And by the VA, I'm just using that as shorthand

15     for the VA Northern California Healthcare System?

16             A.   Well, I use it as an abbreviation for the

17     Department of Veterans Affairs, and the division that I

18     worked for was VA Northern California Health System.

19             Q.   Okay.   And you first started working there in

20     2002?

21             A.   Correct.

22             Q.   Okay.   At that point, what was your job title?

23             A.   Chief of surgery.

24             Q.   Okay.   Had you been chief of surgery before,

25     somewhere else?

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1            A.   At The Queen's Medical Center in Honolulu,

2      Hawaii from -- oh, boy.         It would have been -- let's see

3      here -- 1995 or '96 to 2000.

4            Q.   And what did you do between 2000 and 2002?

5            A.   I was the director of the Queen's Cancer

6      Institute, and I had other positions.               One was the

7      Cancer Research Center of Hawaii.             One was at the

8      University of Hawaii.

9            Q.   Okay.     In 2002 --

10           A.   And I had -- I was chairman of the American

11     College of Surgeons Commission on cancer based in

12     Chicago.

13           Q.   Okay.     Anything else?

14           A.   No.     That's about it.

15           Q.   Okay.     So in 2002, do you know who you replaced

16     as chief of surgery?

17           A.   Dr. William Blaisdell.

18           Q.   And had you known Dr. Blaisdell prior to 2002?

19           A.   You know, I of course knew of him.             I may have

20     greeted him at an American College of Surgeons function

21     or interacted as part of a lecture or something.                  He is

22     a pretty famous, well-known surgeon.              Really, I think

23     2002 was when he recruited me.

24           Q.   So what did he do?         Did he retire in 2002?

25           A.   Yes, sir.

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1            Q.   Okay.     And so he actually recruited you to

2      replace him; is that right?

3            A.   Yes.

4            Q.   Okay.     And what did that involve?             Did he just

5      called you out of blue?

6            A.   Oh, no.     I'd seen the position listed.             It was

7      clear to me that the infrastructure for the Cancer

8      Institute in Hawaii would not be built in the next four,

9      five, six years.       So I started looking.             He saw the

10     inquiry, my CV, and called me probably through whatever

11     search committee was active, through the director at

12     that time, or through the chief of staff.                  I don't

13     really recall the details.

14                I did personally meet with Dr. Blaisdell and

15     other people in Northern California, presumably members

16     of the search committee, or people who were part of the

17     hiring decision.

18           Q.   So Dr. Blaisdell, to your knowledge, was an

19     active participant in finding you as his replacement?

20           A.   Well, he was sort of the plank holder for the

21     hospital at Mather and very important in the formative

22     years of the VA Northern California.              So whether it was

23     official or not, I'm sure he had a role.

24           Q.   I see.     What do you mean by the phrase "plank

25     holder"?    I've never heard that before.

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1            A.   It's a navy term.        Someone who has started the

2      shift, started the organization.            An important player in

3      what's there now.

4            Q.   Okay.    When it came time for your own

5      retirement, did you participate in finding your

6      replacement?

7            A.   I helped with the ad for the position, and I

8      helped with the membership of the search committee.

9      Beyond that, no.

10           Q.   Okay.    So you didn't do any recruiting as Dr.

11     Blaisdell had?

12           A.   No.

13                MS. SMITH:     I object.

14                THE WITNESS:      No, no.     I did not recruit as Dr.

15     Blaisdell did.

16     BY MR. HOYER:

17           Q.   Okay.    So all you did was, you helped draft the

18     ad and select the members for the search committee?

19           A.   Yes.    The ad was posted.        There were people in

20     the VA who knew that the job would be posted and knew

21     that I would be retiring.         Dr. Velez, Dr. Fuller, Ron

22     Clement and probably others.

23           Q.   Did you have an opinion about Dr. Fuller as

24     your replacement?

25                MS. SMITH:     Objection.

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1      BY MR. HOYER:

2            Q.   You can answer, Dr. Hundahl.

3            A.   Dr. Fuller was a successful division chief

4      while I was chief of surgery.

5            Q.   What do you mean by a division chief?

6            A.   There are subspecialties of surgery, and the

7      department of surgery is divided into many divisions,

8      orthopedics, head and neck surgery, ENT, ophthalmology,

9      et cetera.

10           Q.   Did you have any communications with the search

11     committee once it was formed?

12           A.   No.

13           Q.   Okay.    And what went into your decision with

14     respect to selecting the members of the search

15     committee?

16           A.   Let's see here.       Representation from the

17     principal organizations involved the VA, of course, the

18     University of California, Davis.            I think that was it.

19           Q.   So from 2002 to 2019, your job title was chief

20     of surgery?

21           A.   Correct.

22           Q.   Okay.    Did you take any significant time off

23     during that time?

24           A.   Only for total hip replacement.              I think I had

25     one around 2012 and one in 2019.

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1              Q.   Roughly how much time did you take off for

2      those?

3              A.   Oh, about six to eight weeks.

4              Q.   Okay.    And was there an acting chief of surgery

5      in that time?

6              A.   There was.     I don't recall who it was.

7              Q.   Did you select the acting chief of surgery?

8              A.   Yes.    I tried to arrange that before I went

9      out.

10             Q.   And what went into the decision to select the

11     acting chief of surgery?

12             A.   Continuity of the programs.

13             Q.   Okay.    Were there several candidates to choose

14     from?

15             A.   Yes.    Certainly all of the division chiefs and

16     system chiefs of surgery if they weren't overburdened by

17     their duties.

18             Q.   As you sit here today, you don't remember who

19     it was that you selected?

20             A.   No.

21             Q.   When did you first meet Dr. Velez?

22             A.   2002.

23             Q.   Okay.    And how would you describe your working

24     relationship with her?

25             A.   Well, she was based at our facility at

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1      Martinez.     She can describe those duties better than I.

2      I was based at the inpatient VA facility at Mather.

3             Q.   And how often did you typically interact with

4      her?

5             A.   Well, let's see here.        We would have department

6      of surgery meetings approximately every other month.

7      Initially, in the early years 2002, 2003, it may have

8      been as frequently as every month as I was trying to get

9      to know people and get things organized.                So certainly

10     for those meetings.

11                 Then I recall early on, we didn't have a

12     routine morning report that I participated in.                In the

13     later years, we had a report every morning, which was

14     administrative with the director.

15            Q.   So it was Dr. Velez and you and the director in

16     that morning report?

17            A.   A number of people, people who represented

18     nursing, surgery, medicine, mental health, safety, et

19     cetera, et cetera.       It was a fairly big meeting and

20     conducted usually by video call.

21            Q.   And that was every morning?

22            A.   Every morning Monday through Friday.

23            Q.   And that involved not just the Martinez campus,

24     but all of Northern California campuses?

25            A.   Every site had ability to connect into that

                                                                    Page 18

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1      meeting and usually did.

2            Q.    When Dr. Velez was the assistant chief of

3      surgery, was there any other assistant chief of surgery

4      during your time there between 2002 and 2019?

5            A.    Yes.     Jim Wiedeman for education.

6            Q.    Anyone else?

7            A.    I think at least for a period of time -- maybe

8      for the whole, Dr. Eugene Li was assistant chief for

9      research.

10           Q.    Okay.     Now, did you select Dr. Li or Dr.

11     Wiedeman to be the acting chief of surgery when you were

12     out for your hip replacement?

13           A.    I don't recall.

14           Q.    Okay.     I was just wondering if that refreshed

15     your recollection.

16                 Now, how often did Dr. Velez typically speak in

17     the morning report meeting?

18           A.    I don't know.       She is on the call.       She can

19     answer better.        I guess it's my deposition, so she can't

20     speak.

21           Q.    Right.     So you don't have any recollection of

22     how often she spoke?

23           A.    I don't recall how often she participated.

24     Many of us would participate and just listen rather than

25     speak.     When she spoke, we all heard her.

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1              Q.     Okay.   Other than that morning report meeting

2      and the monthly or every other monthly surgery meeting,

3      did you have any regular interaction with her?

4              A.     Not regular.      It was usually topic oriented.

5      She'd pick up the phone and call me.                 And if we needed

6      to communicate, I'd try to reach her.

7              Q.     And what sorts of things would she talk to you

8      about?

9              A.     Oh, we would talk about capacity issues, trying

10     to keep our wait times low for veterans, occasional

11     conversations about unexpected absences of key faculty.

12             Q.     Okay.   Did she ever bring up any issues of

13     discrimination or retaliation against employees at the

14     VA with you?

15             A.     I don't recall any episode.

16             Q.     Okay.   What was your impression of her as an

17     administrator?

18                    MS. SMITH:     Objection; vague as to term

19     "administrator."

20     BY MR. HOYER:

21             Q.     You can answer.

22             A.     Well, the question for me is difficult to

23     answer particularly in retrospect.                 Dr. Velez had a dual

24     role.        She was a vascular surgeon on one hand and

25     administrator on the other.              Not just an administrator

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1      in the department of surgery, but she had administrative

2      duties at the Martinez campus from -- oh, boy --

3      sometime in 2000 through -- all but maybe the last two

4      or three years while I was there.

5            Q.    Well, let's break it up.

6                  Did you get an impression of her as an

7      administrator with respect to her duties in the

8      department of surgery?

9            A.    On a specific area or issue, I might be able to

10     answer that question.        I can't -- it's overly broad

11     right now.

12           Q.    What about in her role as a site manager for

13     Martinez?

14           A.    Well, I would find out about Martinez issues

15     either through Dr. Velez, or when there was a major

16     problem apparent to everyone.           Dr. Velez had a complex

17     job in Martinez, and our care model was complex, almost

18     unique in the VA in terms of its complexity.

19           Q.    And did you view the complexity as a challenge

20     for her?

21                 MS. SMITH:    Objection; basis of knowledge.

22     BY MR. HOYER:

23           Q.    You can answer.

24           A.    Given unlimited time, absolutely not.          However,

25     she was busy.      We all were.

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1            Q.   Busy with her vascular surgery?

2            A.   Yes, among other things.

3            Q.   What other things?

4            A.   The Martinez campus, budgets.            I would know

5      about the medical personnel, but she was responsible for

6      some nonmedical personnel as well on that campus.

7            Q.   And as you sit here today, can you give me your

8      opinion about how capable she was as the site

9      administrator --

10           A.   No.

11           Q.   -- the site manager in Martinez?

12                MS. SMITH:     Objection.

13                THE WITNESS:      No.

14     BY MR. HOYER:

15           Q.   Did you ever recommend to anybody that she be

16     removed as site manager?

17           A.   No.

18           Q.   Did you ever talk to anybody about her

19     replacing you as the chief of surgery?

20                MS. SMITH:     Objection as to a point in time.

21                MR. HOYER:     At any point in time.

22                THE WITNESS:      Probably.      I was aware she

23     applied.

24     BY MR. HOYER:

25           Q.   Who did you talk to?

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1                  MS. SMITH:     Objection; misstates his testimony.

2                  THE WITNESS:      I don't recall.

3      BY MR. HOYER:

4            Q.    I'm sorry.     What was the objection, or what was

5      the answer?

6                  MS. SMITH:     Objection.      That was not his

7      testimony.

8      BY MR. HOYER:

9            Q.    You can answer, Dr. Hundahl.

10           A.    I don't recall.

11           Q.    Okay.   But you think you talked to somebody --

12           A.    I talked to a whole lot of people.

13           Q.    -- about her replacing you as chief of surgery?

14           A.    As a specific topic of conversation, no.           That

15     would be not very likely, but it may have come up.

16           Q.    Why do you say that it was not very likely?

17           A.    It wasn't my fixation.

18           Q.    Well, would you say that who replaced you as

19     chief of surgery was a topic of interest to you?

20           A.    I wanted to be sure that the important programs

21     continued and were run well.           That was my main interest.

22           Q.    And who did you talk to about your main

23     interest?

24           A.    The chief of staff, the director, the chief of

25     surgery at UC Davis.

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1            Q.   And do you remember what you said to them about

2      this, your main interest?

3            A.   No.

4            Q.   Do you remember how many times you talked with

5      them about your main interest?

6            A.   No.

7            Q.   Do you remember whether they were oral

8      conversations or e-mail or letters?

9            A.   Oral much more likely, but I don't recall

10     specifically.      For example, I would see Dr. Farmer at

11     surgical rounds at UC Davis every week.

12           Q.   You've listed several areas of particular

13     concern in terms of the continuity of the programs that

14     were important to you, and I'm just wondering what you

15     had --

16                Do you have any memory of what you said about

17     those?

18           A.   I didn't tick off a list of all the concerns.

19     It was a complicated job, a complicated program, many

20     sites of care.      The principal sites of care were where

21     we were doing operative surgery in an operating room.

22     That was Sacramento, Martinez, and the David Grant

23     Medical Center.

24           Q.   In any of these conversations with the chief of

25     staff and the director and the UC -- sorry.

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1                 Was it the UC chief of surgery, or --

2            A.   Correct.

3            Q.   In those conversations, did you have any

4      discussion about the capability of the candidates with

5      respect to these important concerns that you had?

6            A.   No.     I was retired and gone by the time they

7      started going through the specific list of candidates.

8            Q.   And once you retired, you had no conversations

9      with anybody about these concerns that you had?

10           A.   Correct.

11           Q.   Okay.     But you were aware that Dr. Fuller and

12     Dr. Velez were interested in replacing you prior to your

13     retirement; is that correct?

14           A.   I can't remember.

15           Q.   Now, are you aware that Dr. Velez has helped

16     others in the VA with discrimination or retaliation

17     complaints?

18                MS. LINCOLN:       Objection; vague, overbroad.

19                THE WITNESS:       Can you be specific?

20     BY MR. HOYER:

21           Q.   You can answer.

22           A.   Can you be specific?

23           Q.   Are you aware of Dr. Velez assisting anybody

24     filing any sort of complaint of discrimination or

25     retaliation with an EEO office?

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1            A.   I can't remember, but you can ask Dr. Velez.

2            Q.   Well, I'm interested in what you remember, sir.

3                 MS. SMITH:     Objection; asked and answered.

4      BY MR. HOYER:

5            Q.   Now, do you recall a Dr. Lazzarino that worked

6      for the VA?

7            A.   Yes.

8            Q.   Okay.    And are you familiar with a complaint

9      filed against Lazzarino by Dr. Martin?

10                MS. SMITH:     Objection as to what you mean by

11     "complaint."

12     BY MR. HOYER:

13           Q.   You can answer.

14           A.   I don't recall.       I do recall they did not get

15     along.

16           Q.   And do you recall that Dr. Martin complained

17     that Dr. Lazzarino was committing fraud?

18           A.   No.

19           Q.   Are you familiar with any allegation that Dr.

20     Lazzarino committed fraud?

21           A.   I am.    I was the one who actually referred him

22     to our investigative staff.

23           Q.   Did you do anything yourself to investigate the

24     allegations?

25           A.   Data review, interview with the nurses who

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1      shared worrisome observations.

2            Q.   When did you first hear of the accusation that

3      Lazzarino had committed fraud?

4            A.   I don't remember.

5            Q.   How long was it between the time you first

6      heard of it, and the time you referred it to the

7      investigative staff?

8            A.   Not long.

9            Q.   What do you mean by "not long"?

10           A.   Days at most.

11           Q.   Okay.    Did you have any discussions with Dr.

12     Velez about this?

13           A.   No.

14           Q.   Are you familiar with Dr. White that worked for

15     the VA?

16           A.   Yes.

17           Q.   And did Dr. White have any complaints regarding

18     discrimination, to your knowledge?

19                MS. LINCOLN:      Objection; vague and calls for

20     speculation.

21     BY MR. HOYER:

22           Q.   You can answer.

23           A.   It's complicated because Dr. White was subject

24     to a peer review action that was adverse.

25           Q.   Who initiated the peer review action?

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1                 MS. LINCOLN:      Objection; calls for speculation.

2      BY MR. HOYER:

3            Q.   Do you know?

4            A.   We had mechanisms for automatic referral to

5      peer review, and there were a number of ways a case

6      would be reviewed, adverse outcome, complaint by faculty

7      staff, nurses, et cetera.

8            Q.   What was the way Dr.         White's peer review was

9      initiated?

10           A.   I don't recall.

11           Q.   Was it on your complaint, your initiation?

12           A.   Unlikely since I worked at Mather, and he

13     worked at Martinez.       I would become familiar with issues

14     once cases started to percolate through the peer review

15     system.

16           Q.   What was your participation in White's peer

17     review?

18           A.   Really, I was a supervisory authority to be

19     sure that the peer review process was fair and accurate

20     and followed VA rules, et cetera.

21           Q.   Yeah.    So you said there was an adverse finding

22     against Dr. White?

23           A.   Multiple.

24           Q.   Did Dr. White make any accusation that he was

25     subject to discrimination or retaliation, to your

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1      knowledge?

2            A.    I don't recall.      It wouldn't surprise me.         I've

3      been a chief of surgery in the private system, in the VA

4      system.     Almost always when there is an adverse ruling

5      that's serious enough to jeopardize privileges, that's

6      the accusation.

7            Q.    Has it been your experience that any of those

8      accusations have ever been meritorious?

9                  MS. SMITH:    Objection; vague, confusing.          Can

10     you clarify the question?

11                 MR. HOYER:    That's not your job, Counsel.           You

12     can object, but you can't ask to have a different

13     question.

14           Q.    Do you have the question in mind, Dr. Hundahl?

15           A.    Somehow, the modifier meritorious in the

16     context of peer review confuses me.

17           Q.    Well, you were talking about -- you finished

18     your answer to the previous question with the statement

19     that that's the accusation, and I think you were

20     referring to a counter-allegation of discrimination or

21     retaliation, weren't you?

22           A.    Yes.   That is the almost routine response of a

23     surgeon who is facing adverse action as a result of peer

24     review judgments.

25           Q.    Yes.   And my question to you is:           Were any of

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1      those almost routine responses meritorious in your

2      experience?

3                  MS. LINCOLN:     Objection; overbroad, calls for

4      speculation.

5      BY MR. HOYER:

6            Q.    You can answer.

7            A.    Unusual for them to be valid objections [as

8      said].

9            Q.    Why is that?

10           A.    The process in the decisions were made -- the

11     process is usually laid out, and the committee is making

12     these decisions are made up of multiple individuals.

13           Q.    When you say "multiple individuals," are they

14     multiple individuals that are diverse in terms of gender

15     and race as a rule?

16           A.    I don't recall that.        They were multiple

17     individuals usually on a peer review committee by virtue

18     of their training, background, and clinical competence.

19     Race and gender and stuff really has nothing to do with

20     it.

21           Q.    Are you familiar with a Dr. Li that worked

22     under you at the VA?

23           A.    Yes.   His office was next to mine at the Mather

24     facility.

25           Q.    And did he complain of discrimination or

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1      retaliation, to your knowledge?

2            A.   I think he did.       I don't recall specifics.

3            Q.   Did you have any discussions with Dr. Velez

4      about Dr. Li?

5            A.   I don't recall.

6            Q.   What about Dr. White?         Any discussions with her

7      about Dr. White?

8            A.   I don't recall.

9            Q.   What about Dr. Dow?        Are you familiar with a

10     Dr. Dow that worked underneath you?

11           A.   Yeah.    He actually passed while I was chief of

12     surgery.     He was at the Martinez facility, and I think

13     one of the long-standing employees there, a nice guy.                I

14     liked him.     He was aware that he was getting older, and

15     he stopped doing certain procedures, et cetera.

16           Q.   Did he make any allegations of discrimination

17     or retaliation, to your knowledge?

18           A.   I don't know.

19           Q.   What about Dr. Forest?         Are you familiar with a

20     Dr. Forest that worked underneath you?

21           A.   General surgeon at the Martinez facility.

22           Q.   And did Dr. Forest make any allegations of

23     discrimination or retaliation, to your knowledge?

24           A.   I believe she did.

25           Q.   And to your memory, what did those allegations

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1      involve?

2             A.   I don't recall.

3             Q.   Okay.   Did they involve you?

4             A.   I don't remember.        I mean, everything rested on

5      my desk because I was chief of surgery.                  The VA

6      department was about 80 FTEs and 120 surgeons.                    We had a

7      lot of part-time appointees, et cetera.

8             Q.   Did you discuss Drs. Forest or Dow with Dr.

9      Dow?

10                 MS. SMITH:     Objection; vague and overbroad.

11     BY MR. HOYER:

12            Q.   You can answer.

13            A.   Possibly.

14            Q.   Did you discuss their EEO complaints with her?

15            A.   Possibly.

16            Q.   Did Dr. Velez have a reputation for helping

17     women and minorities with discrimination problems at the

18     VA?

19                 MS. LINCOLN:      Objection; calls for speculation,

20     vague.

21     BY MR. HOYER:

22            Q.   You can answer.

23            A.   Unknown.

24            Q.   When you went out for your hip surgery and

25     appointed somebody to be the acting chief of surgery, at

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1      the time, was Dr. Velez qualified to be the acting chief

2      of surgery?

3            A.    Can you define "qualified"?

4            Q.    Well, I'll ask you.

5                  What would make somebody qualified to be the

6      acting chief of surgery at the time?

7            A.    Familiarity with the busiest site of care,

8      which was the Mather facility.           We had several inpatient

9      services grappling with capacity issues, wait lists,

10     engineering issues, et cetera.

11                 Most of the divisions in surgery had division

12     chiefs that were based at Mather.            That's about it.

13     There are logistical concerns here and only 24 hours in

14     a day.     One person can only do so much.              Dr. Velez was

15     based at Martinez and also did work at San Francisco.

16     She was busy.

17           Q.    So was it your opinion that she was too busy to

18     be the acting chief of surgery?

19                 MS. SMITH:    Objection.

20     BY MR. HOYER:

21           Q.    You can answer.

22           A.    I was probably reluctant to add to her burdens.

23           Q.    Did you have any discussions with her about

24     whether she thought she could handle the acting chief of

25     surgery position?

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1             A.   No.

2             Q.   Why?

3             A.   That would be a new position for her.          If she

4      took it, she would have had to move up to Sacramento.                I

5      recall that in 2002, when I was orienting to the VA, the

6      chief of medicine Dr. Siegel explained to me the

7      migration of personnel faculty to the Sacramento site as

8      a result of the opening of the new hospital at Mather.

9      He opted at that time to move from the East Bay up to

10     Sacramento, and Dr. Velez decided to stay in the East

11     Bay.    That's how he described it.

12            Q.   And based on that experience in 2002, you

13     thought she would not want to move up to Sacramento for

14     the six weeks that you were out during your hip surgery?

15            A.   It may have played a role.          I observed that she

16     did not participate in conferences and activities at UC

17     Davis, not the vascular conference, not the surgical

18     grand rounds, et cetera.

19                 Again, there is a time and geography element.

20     We had wait times to deal with and had to use our

21     resources efficiently.        Having a vascular surgeon

22     driving on the road instead of in the OR operating is a

23     problem.

24            Q.   What were the wait times like for vascular

25     surgery at the time of your --

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1                 MS. SMITH:     Objection --

2      BY MR. HOYER:

3            Q.   -- hip surgery?

4                 MS. SMITH:     Objection as to what point in time.

5      There were two hip surgeries.

6      BY MR. HOYER:

7            Q.   Well, one was before you retired, and one was

8      after I think, right?

9                 MS. SMITH:     Objection.

10                THE WITNESS:      One hip replacement in 2012.        One

11     hip replacement in 2019.         The data on wait times is

12     quantitative and kept in the VA systems, and I don't --

13     BY MS. SMITH:

14           Q.   I'm asking --

15           A.   -- have access to them.

16           Q.   I'm asking for your memory, sir.

17                What was the vascular --

18           A.   I don't recall.

19           Q.   Okay.    Now, you said that Dr. Velez had both

20     administrative duties in the department of surgery and

21     as a site manager for Martinez.

22                Are you familiar how much time per week that

23     she spent on her site manager administrative duties?

24           A.   No.

25           Q.   Are you familiar with how much time per week

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1      she spent with respect to her surgery administrative

2      duties?

3            A.   No.

4            Q.   Was it your opinion that she was busier than

5      other surgeons because of her administrative duties?

6            A.   I have no opinion on that.           Clinically, busy is

7      something I could measure.          Busy in the other sphere is

8      something I cannot measure.

9            Q.   Did you have any discussions with Dr. Velez

10     about how busy she was with her administrative duties?

11           A.   I don't recall.

12           Q.   Now, all surgeons have some administrative

13     duties; is that correct?

14                MS. LINCOLN:      Objection; vague, overbroad,

15     calls for speculation.

16     BY MR. HOYER:

17           Q.   You can answer.

18           A.   If you can be more specific, that would help.

19           Q.   Well, as a surgeon, did you have any

20     administrative duties in your role as a surgeon?

21           A.   Yes.

22           Q.   And how many hours per week did you spend on

23     those duties?

24                MS. SMITH:     Objection.

25                THE WITNESS:      As chief of surgery, I spent a

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1      lot of time on administrative duties.

2      BY MR. HOYER:

3            Q.   I was asking about your role just as a surgeon,

4      and the administrative duties attendant to your role as

5      a surgeon, not as chief of surgery.

6            A.   Well, daily notes for inpatients, operative

7      reports, medical records, et cetera, et cetera.             It's

8      quite a --

9            Q.   How much --

10           A.   -- burden actually.

11           Q.   Right.    How much time would that take typically

12     per day or per week?

13           A.   Hours.    It was a lot.        Obviously, it depends on

14     the clinical load and complexity of the cases and that

15     varies.

16           Q.   Well, as chief of surgery, you were generally

17     familiar with the duties of the surgeons underneath you,

18     right?

19           A.   Generally, yes.        Specifically, difficult

20     because we had a number of different specialties in the

21     department of surgery.

22           Q.   Can you give me an average number of hours per

23     day that a surgeon underneath you would spend --

24           A.   No.

25           Q.   -- on administrative duties?

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1             A.   No.

2             Q.   And can you give me an average number of days

3      that Dr. Velez would spend on administrative duties

4      related to her role as a vascular surgeon?

5             A.   No.

6             Q.   Do you recall any instance where her role as a

7      site manager affected her role as a surgeon?

8                  MS. LINCOLN:     Objection; vague.

9                  THE WITNESS:     I don't recall.

10     BY MR. HOYER:

11            Q.   Would you describe her as a highly productive

12     clinician?

13                 MS. SMITH:     Objection as to term "highly

14     productive."

15                 MS. LINCOLN:     Join.

16     BY MR. HOYER:

17            Q.   You can answer.

18            A.   Not by the clinical measures I was looking at,

19     but Dr. Velez had both a clinical and an administrative

20     job.    She worked not just in our VA system, but also did

21     duty at the San Francisco VA.           So I really didn't have a

22     complete picture.

23            Q.   I'm not sure about your answer, sir.          So I'm

24     going to ask you to clarify.

25                 When you said not by the clinical data that you

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1      reviewed, did you get the impression from the data that

2      you reviewed that she was not very productive as a

3      clinician?

4            A.    By VA metrics and recognizing that her practice

5      was an outpatient practice, and that she was being

6      compared with surgeons with substantial inpatient

7      responsibility, including calls coming in at night to

8      treat emergency cases, et cetera --

9                  She did at the Martinez site an outpatient

10     practice.     I had her VA Northern California data, but I

11     recognized that it created an incomplete picture.              I did

12     not have the San Francisco data to look at, and I gave

13     her the benefit of the doubt.

14           Q.    Could you have obtained the San Francisco data

15     if you had asked for it?

16                 MS. LINCOLN:     Objection; calls for speculation.

17     BY MR. HOYER:

18           Q.    You can answer.

19           A.    I could not get that data.

20           Q.    Did you ask for it?

21           A.    Yes.   I did not get it.

22           Q.    Did somebody in San Francisco refuse to give

23     you the data?

24           A.    Yes.

25           Q.    Who was that?

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1            A.    I don't recall.

2            Q.    Okay.   Now, you made the distinction between an

3      inpatient practice for other surgeons and her outpatient

4      practice.

5                  How does that affect the productivity data that

6      you looked at?

7            A.    Generally, outpatient surgeons have inflated

8      case numbers, and sometimes hours actually operating in

9      the OR goes down a little bit.            Cases high, hours low.

10           Q.    Were there other surgeons underneath you that

11     had outpatient practices?

12           A.    Yes.

13           Q.    Compared to those surgeons, what was Dr.

14     Velez's productivity?

15           A.    Different specialties and meaningless

16     comparison.

17           Q.    So if I understand you correctly, it's not fair

18     to compare her numbers to an inpatient surgeon.             It's

19     sort of apples to oranges, right?

20           A.    The roles are different, and the demands are

21     different.

22           Q.    And in terms of the other outpatient surgeons,

23     there were different specialties.             So that was also an

24     apples to oranges comparison in terms of productivity --

25           A.    Correct.

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1            Q.   -- right?     So how was it that you came to the

2      opinion that she was not particularly productive as a

3      clinician?

4                 MS. SMITH:     Objection; misstates the record.

5      BY MR. HOYER:

6            Q.   You can answer.

7            A.   Misstates what I said.

8            Q.   What did you say, sir?

9            A.   The numbers that I was looking at did not

10     indicate she was tremendously clinically busy.

11           Q.   Is there a difference between productive and

12     busy in your mind?

13           A.   I'm not sure what you are asking.

14           Q.   Well, we've been talking about productivity.

15     In your last answer, you used the word "busy, not

16     tremendously busy."       I'm just wondering if there is a

17     difference in your mind between "productive" in this

18     context and the word "busy" in this context.

19           A.   Productive case done, patient treated.               Busy to

20     me means things that need to be done that aren't

21     necessarily related to that clinical outcome.                 I.e., the

22     administrative tasks that Dr. Velez was burdened with.

23           Q.   But you don't know how much time she spent on

24     that, right?

25           A.   I think I already answered that.             No.

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1            Q.   Okay.    So you don't really have a meaningful

2      way to tell how productive Dr. Velez was compared to

3      other surgeons; is that correct?

4                 MS. LINCOLN:      Objection; vague as to

5      "meaningful."

6      BY MR. HOYER:

7            Q.   You can answer.

8            A.   At this point in time, I have no way of

9      knowing.    However, VA has quantitative systems, which

10     track such metrics.

11           Q.   Did you look at those metrics when you were the

12     chief of surgery on a regular basis?

13           A.   They were often part -- usually part of annual

14     performance reviews.

15           Q.   And you gave Dr. Velez an annual performance

16     review every year?

17           A.   If she submitted a self-assessment, and I could

18     complete the process, yes.

19           Q.   And as part of that process, you looked at

20     these numbers that you've been talking about that

21     indicate productivity?

22           A.   Usually, yes.

23           Q.   As you sit here today, do you have any memory

24     of commenting in her annual reviews on her productivity,

25     favorably or not favorably?

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1            A.    I think I would have let the numbers speak for

2      themselves in that area because it's quantitative.

3      Again, I recognize that many different surgeons have

4      different rules.      I mentioned the inpatient, outpatient

5      thing.     I think you get it.

6            Q.    I'm just wondering if in your mind her

7      productivity was ever a problem.

8            A.    I actually wish she could have devoted more

9      time to clinical activity given our wait time issues.

10     However, I believe she tried to be as efficient as

11     possible.

12           Q.    Isn't it true that during the last ten years

13     that you were there, the wait times for a vascular

14     surgery were not really a problem compared to other

15     specialties?

16                 MS. LINCOLN:     Objection; vague, calls for

17     speculation.

18                 MS. SMITH:     I join in that objection.

19     BY MR. HOYER:

20           Q.    You can answer.

21           A.    I don't recall.

22           Q.    Is it your memory that in your annual reviews

23     of Dr. Velez you expressed this wish that she spent less

24     time on administrative work and more time in surgery?

25           A.    Not in my recollection.

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1             Q.   Is there a reason that you did not express this

2      wish to her?

3             A.   Unknown, frankly.

4             Q.   Did you talk with other surgeons about their

5      productivity in your annual reviews of them?

6             A.   Probably.    These were all written reviews by

7      the way.     They are in HR files.

8                  MS. LINCOLN:     Counsel, would now be an

9      appropriate time to take a short break?

10                 THE WITNESS:     Thank you.

11                 MR. HOYER:     Let's take a break and come back at

12     11:00.

13                 MS. LINCOLN:     Thank you.

14                 (Recess.)

15                 MR. HOYER:     I'll try to share my screen for

16     Exhibit 1.     Let's mark this as -- I always forget.           Are

17     we doing consecutive numbering in between depositions,

18     or are we starting at 1 every time?

19                 MS. SMITH:     I've been starting with each as a

20     new.

21                 MR. HOYER:     Okay.    Let's mark this as

22     Exhibit 1.     Ms. Balboni, I'll have my office e-mail you

23     all of the exhibits.        I'll copy everybody else on it,

24     too.

25                 (Plaintiff's Exhibit 1 marked.)

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1      BY MR. HOYER:

2            Q.   Dr. Hundahl, can you see Exhibit 1 completely

3      on the screen in front of you?

4            A.   I can.

5            Q.   Okay.

6            A.   I can only see the upper half on my screen, but

7      I can scroll down actually.

8            Q.   Can you scroll down?

9            A.   No.     Actually, I think you have to scroll down.

10           Q.   I was just going to offer to scroll down to let

11     you review the whole thing.           That's the whole --

12           A.   That's pretty good.

13           Q.   -- thing.     Okay.

14                So have you had a chance to look at it now?

15           A.   Yes.

16           Q.   Okay.     Let me just ask you some questions about

17     it.

18                Did you discuss removing Dr. Velez as a site

19     manager with Mr. Graham before he provided her with this

20     letter?

21           A.   I don't recall.

22           Q.   You may have, but you just don't remember?

23           A.   I don't remember.

24           Q.   Is there any reason that you would not have

25     discussed it --

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1                 MS. SMITH:     Objection.

2      BY MR. HOYER:

3            Q.   -- with him?      Do you have that question in

4      mind, Dr. Hundahl?

5            A.   Oh, you were looking for an answer.           Sorry.

6      Well, he was sort of up on the administrative hierarchy

7      from where I was.       To me, this looks like an order for

8      the year 2018 when this letter was delivered.             I'm not

9      sure who did the annual performance review.             In previous

10     years, sometimes it was done by the upper administrator

11     in the East Bay.      Some years by me and some years

12     jointly.

13           Q.   Did you see a draft of this letter before the

14     date indicated at the top here?

15           A.   I have no idea.

16           Q.   Did you give any input as to the substance of

17     this letter?

18           A.   No -- I may have, but I don't recall.

19           Q.   Did you meet with Dr. Velez after she was

20     provided this letter?

21           A.   I don't recall, but probably.

22           Q.   Do you remember what was discussed?

23           A.   It would have been in the context of our usual

24     meetings, either morning report or our department of

25     surgery meetings, or a call related to wait lists or

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1      mechanical issues with the HVAC system in the Martinez

2      OR or something like that.

3            Q.    But was there any discussion of her removal as

4      site manager?

5            A.    No.

6            Q.    Okay.     Down at the bottom --

7            A.    Actually, you know, I object to the way you

8      stated that.        The letter doesn't mention removal.        It

9      just says change in assignment.

10           Q.    And how is removal incorrect?

11           A.    There is no mention of change in pay.          As a

12     matter of fact, the letter indicates that her role, at

13     least as far as the department of surgery is concerned,

14     is unchanged.

15           Q.    Was her role as the site manager unchanged?

16           A.    From the letter, it looks like the decision was

17     that there was no need for separate site manager in

18     Martinez.

19           Q.    Down in the third paragraph, it says, "Dr.

20     Hundahl will discuss your full assignment with you."

21                 What does that mean, "full assignment"?

22                 MS. LINCOLN:       Objection; calls for speculation.

23                 MS. SMITH:      I join in that objection.

24     BY MR. HOYER:

25           Q.    Did you have a discussion with Dr. Velez about

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1      her full assignment following this letter?

2            A.   She was a vascular surgeon before.           She was a

3      vascular surgeon afterward.          I'm sure that she was able

4      to add to her clinical load and duties on her own.              I

5      mean, she saw the same wait time data that I did.

6            Q.   And did you follow the wait time data with

7      respect to vascular surgery in Martinez?

8            A.   Martinez was one of three sites where we had

9      active vascular surgery programs.            So sometimes we would

10     look at moving cases from one site to another, et

11     cetera.    You can ask Dr. Velez, but I suspect she added

12     some vascular surgery capacity after receiving this

13     letter.

14           Q.   Do you remember her adding any vascular surgery

15     capacity following this letter?

16           A.   I don't recall specifically.

17           Q.   Do you recall whether you paid attention to

18     whether she added vascular surgery capacity following

19     this letter?

20           A.   No more than usual.        You can ask Dr. Velez.

21           Q.   I'm asking you, sir.

22           A.   I recall just looking at the usual data.            A lot

23     of other things were going on at the time.

24           Q.   And you don't remember seeing any improvement

25     in wait times in vascular surgery as a result of the

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1      change in assignment discussed in this letter, correct?

2            A.   I don't remember.

3                 MS. SMITH:     Objection.

4      BY MR. HOYER:

5            Q.   Was it your understanding that the change of

6      assignment discussed in this letter, the purpose of it

7      was in part to improve the wait times for vascular

8      surgery?

9                 MS. LINCOLN:      Objection; calls for speculation.

10     BY MR. HOYER:

11           Q.   You can answer.

12           A.   Unknown.     I was happy to have the potential to

13     get more capacity in the system on the clinical side.

14           Q.   You have no idea how much added capacity

15     resulted, right?

16           A.   I can't recall at this time.

17           Q.   Were there data that one can look at that would

18     show added capacity as a result of this change of

19     assignment?

20                MS. LINCOLN:      Objection; calls for speculation.

21     BY MR. HOYER:

22           Q.   You can answer.

23           A.   Yes.

24           Q.   What data would that be?

25           A.   The VA has extensive data relating to wait

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1      times, productivity, capacity, et cetera, et cetera.

2      It's broken down by division.             Sometimes by site.   I

3      don't have full access to frankly any data at this

4      point.     So I really can't answer your question, but the

5      data exists.

6            Q.    Well, I'm wondering what data you are referring

7      to.

8            A.    I answered your question.

9            Q.    Well, I understand there is extensive data, but

10     would one have to look at lots of numbers in order to

11     figure out whether this change in assignment added

12     capacity in vascular surgery in Martinez?

13           A.    Yes.

14           Q.    And which numbers would one look at to

15     determine that?

16           A.    Clinic hours, four hours, cases done, that sort

17     of thing.

18           Q.    I see.    And did you perform that review

19     following this change in assignment?

20           A.    Well, those reviews were done on a national

21     level and site by site, and we broke it down by subsite

22     and division usually according to the problematic areas.

23     If we needed to make a change in order to meet the

24     capacity challenge, we tried to do it.

25           Q.    Was this change the result of that?

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1            A.   I don't know.

2            Q.   Well, if this were a change that was designed

3      to increase capacity for vascular surgery in Martinez,

4      you would have been consulted as a matter of practice,

5      wouldn't you?

6                 MS. LINCOLN:      Objection; calls for speculation.

7                 MS. SMITH:     I join in that objection.

8      BY MR. HOYER:

9            Q.   You can answer.

10           A.   I usually work with the resources under my

11     control.     When there were problems with waits, I would

12     do what I could to get the people with clinical needs or

13     problems taken care of.        Understand that in certain

14     areas, emergency care was important, and that's

15     certainly the case in surgery in general.               Certain

16     things have to be done right away.             You don't have the

17     luxury of time.      You've heard "life and limb."           Well, in

18     vascular surgery, you are talking about limb.

19           Q.   I thought you said she is an outpatient

20     surgeon?

21           A.   She is, but she sees people in clinic with

22     sometimes an urgent need.         She made sure those patients

23     were taken care of either within our system, but she

24     also had the option to use the facilities at San

25     Francisco.

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1                     I don't think we had anybody lose a limb at the

2      Martinez site because of an unusual delay in care.                You

3      know, having somebody like Dr. Velez in Martinez made it

4      possible for people to be cared for safely even though

5      that was an outpatient center.

6              Q.     And that was true before and after this change

7      in assignment, correct?

8              A.     Correct.

9                     MR. HOYER:     All right.     Let's mark this as

10     Exhibit 2.        It's a memo dated August 27, 2018, from Dr.

11     Velez to Timothy Graham.

12                    (Plaintiff's Exhibit 2 marked.)

13     BY MR. HOYER:

14             Q.     And why don't you review it and just tell me

15     when you want me to scroll down.

16                    MS. LINCOLN:     Counsel, we cannot see the

17     exhibit.

18                    MR. HOYER:     That's weird.

19                    MS. LINCOLN:     This happened to me in my last

20     depo.        It's showing the whole screen but not the actual

21     exhibit.

22                    (Discussion off the record.)

23     BY MR. HOYER:

24             Q.     Can you see that?

25                    MS. LINCOLN:     Now I can.     Can you see that, Dr.

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1      Hundahl?

2                 THE WITNESS:      Yes, I can.

3      BY MR. HOYER:

4            Q.   Okay.    Take your time, review it, and tell me

5      when you want me to scroll down.

6            A.   Sir, can you scroll down now?

7            Q.   Sure.

8            A.   I've read the letter.

9            Q.   Okay.    Is this the first time you've seen this

10     letter?

11           A.   Yes.

12           Q.   Okay.    Now, did anyone tell you that Dr. Velez

13     had written a response to the change of assignment

14     letter that we looked at previously?

15           A.   No.

16           Q.   Now, partway down the first paragraph, she

17     says, "As you well know, in my role" --

18           A.   Can you scroll up, sir?

19           Q.   "As you well know," do you see that?

20           A.   Yes.

21           Q.   Okay.    Let me just highlight the text I'm going

22     to ask you about.      I'll just finish reading it.         "I have

23     played a leadership role in activities which may be

24     understood as narrowly administrative (such the design

25     and construction of new administrative buildings),

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1      narrowly clinical, but not narrowly surgical (such as

2      coordination of ultrasound testing between radiology,

3      medicine and surgery), and interface issues (such as

4      space allocation for offices and examination rooms."

5                 Is that a correct assessment of her role, to

6      your understanding?

7            A.   I don't know.

8            Q.   Okay.    At the very bottom, she writes, "In

9      either case, I will continue to do the excellent job

10     I've done as you have acknowledged."

11                Was it your opinion that she had done an

12     excellent job as site manager?

13           A.   I don't know, and I can't recall right now.

14     These assessments, at least based on annual performance

15     reviews, would vary a bit from year to year depending on

16     the issues and how they were dealt with, et cetera.              My

17     recollection is that Dr. Velez usually had pretty good

18     reviews.

19           Q.   So let me ask you about your participation in

20     her annual reviews.

21                With respect to her site manager duties, did

22     you have input into her performance reviews?

23           A.   No.

24           Q.   Who would have any input as to those --

25           A.   Her administrative supervisor.

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1            Q.    -- if anyone?      Mr. Stockwell?

2            A.    Probably the associate director based in

3      Martinez.

4            Q.    Mr. Graham?

5            A.    During this year, correct.

6                  MR. HOYER:     Okay.     I'm going to stop sharing

7      Exhibit 2 and then magically pull up Exhibit 3.

8                  (Plaintiff's Exhibit 3 marked.)

9      BY MR. HOYER:

10           Q.    So here is Exhibit 3.         It's a September 27,

11     2018 memo from Mr. Graham to Dr. Velez, and I'll let you

12     review it before I ask you any questions.

13                 MS. LINCOLN:      There is nothing up on the

14     screen.

15                 MR. HOYER:     How about that?

16                 MS. LINCOLN:      Yes.    There is a document on the

17     screen.

18     BY MR. HOYER:

19           Q.    Take a look at Exhibit 3.           I'll ask you

20     questions when you are done and just tell me when you

21     need me to scroll down.

22           A.    Scroll down, please.         I've read the memo.

23           Q.    Okay.   Did you see this memo before or after it

24     was sent?

25           A.    No.

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1              Q.   Okay.     Did you have any discussions with Mr.

2      Graham about this memo?

3              A.   No.

4                   (Plaintiff's Exhibit 4 marked.)

5      BY MR. HOYER:

6              Q.   All right.      Can you see Exhibit 4?

7              A.   I see something from Mr. Graham dated Friday,

8      September 28th, 2018.

9              Q.   Perfect.     That's Exhibit 4.         So take a moment,

10     to review it, and tell me when you want me to scroll

11     down.

12             A.   Can you scroll down?

13             Q.   Yes.

14             A.   Thank you.      I've read the letter.

15             Q.   Let me direct your attention to paragraph 2,

16     and I've highlighted paragraph 2.               Take a moment to read

17     it, and my question to you is:              Would you agree with the

18     statements made in paragraph 2?

19             A.   I have no reason to disagree.             It seems

20     accurate to me.

21             Q.   Okay.     Now, following her change of assignment,

22     she went back to just being assistant chief of surgery

23     for the East Bay, correct?

24             A.   No.     I don't like the way you phrased that.                It

25     says chief of surgery for the East Bay.                    It didn't say

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1      take job, and she stayed in that job.               The things that

2      were changed were nonsurgical administrative things.

3            Q.   Are there non-surgical administrative things

4      about assistant surgery for the East Bay -- assistant

5      chief of surgery for the East Bay?

6            A.   They relate to surgery or surgical operations.

7            Q.   Okay.     These items listed in paragraph 2 that's

8      highlighted, they are all surgical issues?

9            A.   No, not purely.

10           Q.   Okay.     Could she have achieved these things as

11     assistant chief of surgery for the East Bay?

12                MS. SMITH:      Objection.

13                THE WITNESS:       You'll have to ask her that.         She

14     was acting as assistant chief of surgery I believe when

15     she started some of those projects.

16     BY MR. HOYER:

17           Q.   The center for rehabilitation and extended

18     care, was that purely a surgical center?

19           A.   No.     It had surgical impact, but it was a much

20     needed rehab and extended care center.

21           Q.   Okay.     What about the center for integrated

22     brain health and wellness?           Was that purely a surgical

23     center?

24           A.   No, and it mostly involved other things.             I can

25     remind you if you are not aware that she is married to

                                                                   Page 57

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1      Dr. Remler who is chief of neurology for a long time and

2      actually may still be.        I'm not sure.

3            Q.   Did you have any discussions with Mr. Stockwell

4      about her change of assignment?

5            A.   No.   I mean, maybe in passing, but nothing

6      specifically.      I think most of those discussions

7      occurred at the Pentad level.

8            Q.   So to your memory, nobody from the Pentad level

9      came and asked you, "Gosh, if we reassign Dr. Velez,

10     then is that going to help the wait times problems in

11     vascular surgery in Martinez?"

12           A.   I really don't recall.

13           Q.   Just organizationally, if somebody had a

14     question about surgical wait times in Northern

15     California, you would be the person to go to?

16           A.   I'd be one of the people to go to.           We had a

17     data person who actually managed the data systems.              Our

18     division chiefs in the various specialties would make

19     that individual the first call.           However, I had to

20     defend our wait times on a quarterly basis on a

21     regional- and national-level call with VA leadership.

22           Q.   Is there a difference in sort of how critical

23     wait times are between specialty or locations so that,

24     you know, wait time for bunion removal isn't nearly as

25     important as a wait time for a heart transplant or

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1      something like that?

2            A.    There are differences.        Clinicians are well

3      aware of them.      Sometimes the data people are not, and

4      sometimes the penalties for being outside of wait time

5      guidelines are the same whether it's a big issue or a

6      small issue.

7            Q.    But in terms of consulting people who are in

8      the know about the wait times and their relative

9      importance, you would certainly be one of the people

10     consulted?

11           A.    Eventually, either at the end or the beginning.

12                 MR. HOYER:    Right.     Okay.     I'll show you

13     another one.     This is Exhibit 5.

14                 (Plaintiff's Exhibit 5 marked.)

15     BY MR. HOYER:

16           Q.    Dr. Hundahl, Exhibit 5 is an e-mail from you

17     dated May 13, 2019 to Frederick Barthel.                Let me give

18     you a chance to review this.          It's a multi-page

19     document.     So tell me when you want me to scroll down.

20     Correction:     An e-mail chain.

21           A.    Perhaps you can scroll down.           Perhaps you can

22     scroll down.     Perhaps you can scroll down.             Thank you.

23     You know, to tell you the truth, from where I sit right

24     now, I don't remember any of this.

25           Q.    That's a perfectly fine answer.             The goal right

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1      now is to have you review this exhibit perhaps to

2      refresh your recollection about what's written in your

3      e-mail exchange with Mr. Barthel.            So when you are ready

4      for me to scroll down, I can continue.

5            A.   Continue, continue, continue.

6            Q.   I think that's it.        All right.

7                 Do you remember now this exchange with Mr.

8      Barthel?

9            A.   Really, no.

10           Q.   Okay.    Do you have any reason to think that

11     this was not an exchange between you and Mr. Barthel?

12           A.   No reason.

13           Q.   Now, on the second page -- I'll highlight this

14     -- there is a question about her past EEO activity, and

15     your response was apparently that you learned shortly

16     after the complainant had filed an EEO complaint against

17     the air force before my arrival.

18                Do you see that?

19           A.   I see that.

20           Q.   Okay.    Did you draw any conclusion about the

21     fact that she had filed an EEO complaint against the air

22     force before you arrived?

23                MS. SMITH:     Objection.

24                THE WITNESS:      I doubt I would have without

25     knowing the details.

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1      BY MR. HOYER:

2             Q.   Do you know what the results of her complaint

3      was?

4             A.   I heard rumors.

5             Q.   What were the rumors that you heard?

6             A.   That there was a settlement.            I'm not sure

7      whether it was EEO activity, or whether it was related

8      to a peer review matter, or something.               I don't know the

9      details of it.      It was before my time in Northern

10     California.

11            Q.   Okay.   Were those all the rumors that you

12     remember hearing?

13            A.   I don't know.      I can't remember.

14            Q.   Okay.   Now, the question here is whether the

15     complainant was discriminated against based on national

16     origin, sex and opposition to discrimination.               When

17     Timothy Graham, associate director, removed her from her

18     assignment as site manager for the VA Northern

19     California Healthcare System outpatient clinic in

20     Martinez on August 20, 2018.

21                 Your response, "The additional administrative

22     duties involved in site management caused complainant to

23     be unreliable at times."

24                 Do you see that?

25            A.   I do.

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1             Q.   And how did it cause her to become unreliable

2      at times?

3             A.   I could not reach her always when I needed to

4      reach her and did not get Martinez data issues addressed

5      in the national system.         Sometimes, you know, with a

6      magic wand, it would have been nice to have Dr. Velez

7      actually immediately accessible, but that was impossible

8      given geography and logistics and her duties at San

9      Francisco VA Medical Center and Martinez and the

10     administrative stuff.         As I said, she had a complicated

11     job.

12            Q.   Okay.   So you couldn't reach her sometimes, and

13     how much of it was because she had site manager duties

14     as opposed to geography and her San Francisco duties?

15                 MS. LINCOLN:      Objection; calls for speculation.

16                 MS. SMITH:     I join in that.

17                 THE WITNESS:      My answer is:       I don't know.

18     BY MR. HOYER:

19            Q.   Okay.   Was she more reachable after her site

20     manager duties were removed?

21            A.   I don't recall.

22            Q.   The data issues regarding Martinez, how much

23     were those the result of the fact that she also had site

24     manager duties?

25                 MS. SMITH:     Objection; calls for speculation.

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1                 MS. LINCOLN:      Join.

2      BY MR. HOYER:

3            Q.   You can answer.

4            A.   Unknown.

5            Q.   Okay.    How much of the data issues were

6      resolved as a result of the removal of the site manager

7      duties?

8            A.   Unknown.    A bit of background may be helpful

9      however.    The background is that the data system the

10     national VA used from our point of view seemed like it

11     was designed by the communist Chinese or the Russians.

12     It was not a user-friendly system.

13           Q.   Okay.    How is that related to her site

14     management duties or the removal of her site management

15     duties?

16           A.   It relates to the time involved in addressing

17     problems with data, and, you know, Dr. Velez would take

18     care of the Martinez specific data.

19           Q.   And that was part of her site manager duties or

20     part of her assistant chief of surgery duties?

21           A.   The latter.

22           Q.   And was she the only assistant chief of surgery

23     that had these data issues?

24           A.   Yes.

25           Q.   And you think it was because her site manager

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1      duties were limiting her availability to do the data

2      management issues?

3            A.   I didn't say that.        I don't know.

4            Q.   But everybody else filled in all the requisite

5      data, all the other assistant chiefs of surgery or

6      divisions?

7            A.   They had different responsibilities, sir.

8            Q.   Well, who else was responsible for filling in

9      the data in the same way that Dr. Velez was?

10           A.   There were a number of people who contributed

11     to the integrity of that data system.              There was an

12     ongoing dynamic interaction between the clinic practice

13     managers and the data manager who helped support that

14     system.

15           Q.   I'm just wondering if it's possible for you to

16     pinpoint Dr. Velez as being the problem with the

17     Martinez data.

18                MS. LINCOLN:      Objection.

19                THE WITNESS:      I did not say that, sir.

20     BY MR. HOYER:

21           Q.   Well, I'm just wondering, if she wasn't the

22     problem, then how would her removal of the site manager

23     duties assist in solving the data management problem?

24                MS. LINCOLN:      I object that it misstates

25     testimony, vague, calls for speculation.

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1                 MS. SMITH:     I join in that objection.

2                 THE WITNESS:      The answer:       I don't know.

3      BY MR. HOYER:

4            Q.   Okay.    The very next sentence says, "I do

5      believe that the change was good for patient care."

6                 Do you see that?

7            A.   I see that.

8            Q.   Okay.    How was it good for patient care?

9            A.   More capacity and more time for devoted thought

10     to clinical issues.

11           Q.   And you already talked about the capacity

12     issue, right?

13           A.   I mentioned it.

14           Q.   Well, is there any other way other than what

15     you've already told me today, that more time for -- more

16     capacity was good for patient care?

17           A.   More time devoted to management of difficult

18     clinical problems is generally good.

19           Q.   And as a result of the removal of her site

20     manager duties, how much more time did she have to deal

21     with difficult clinical problems?

22                MS. LINCOLN:      Objection.

23                THE WITNESS:      You'd have to ask Dr. Velez that.

24     BY MR. HOYER:

25           Q.   I'm just asking you if you have any awareness.

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1            A.    No.

2            Q.    Was it unknown at the time, or do you just not

3      remember now?

4            A.    Unknown.

5            Q.    Sorry.     Just to be clear, your answer is

6      unknown at the time?

7            A.    I don't specifically recall, but, you know, I

8      don't know right now.

9            Q.    In the next bullet point, you say, "Complainant

10     is the only person that has seemed disengaged in this

11     process."

12           A.    Let me read the whole paragraph.

13           Q.    Take your time, sir.

14           A.    I've read the paragraph.           What's the question?

15           Q.    The question is:        What's the basis for your

16     statement there that the complainant is the only person

17     that has seemed disengaged in this process?

18           A.    Observation.

19           Q.    What did you observe that leads to this

20     conclusion?

21           A.    Of all the division chiefs and clinicians,

22     despite the multiple sites, Dr. Velez had trouble

23     reporting and interacting.            I found this frustrating,

24     but I fully recognized that Dr. Velez had a complicated

25     job, was working both in Martinez and in San Francisco.

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1      It was a source of frustration for me.

2            Q.    Did you put that in your annual reviews of her?

3            A.    I don't recall.       I may have.       These are written

4      reviews.     So they are available.

5            Q.    Yeah.    I'm just wondering if this frustration

6      was an important enough problem to put it in her annual

7      review.

8                  MS. SMITH:     Objection; asked and answered.

9      BY MR. HOYER:

10           Q.    You can answer.       No, it's not asked and

11     answered.     It's a different question.            You can answer.

12           A.    You are reaching for something that I'm not

13     quite clear on.       Can you repeat the question?

14           Q.    Sure.    I'm just wondering if this frustration

15     was an important enough problem to put in her annual

16     review.

17                 MS. LINCOLN:      Objection; vague.

18     BY MR. HOYER:

19           Q.    You can answer.

20           A.    The narrative for the annual reviews for most

21     of the division chiefs was lengthy and contained a whole

22     mess of bullet points.         That may have been part of one

23     bullet point.       I don't recall specifically.

24           Q.    You said she had problems reporting with

25     respect to this particular activity, and I'm just

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1      wondering, what do you mean by she had problems

2      reporting?

3            A.    Sometimes data submissions would be

4      problematic.       Some troubleshooting was required, and

5      sometimes there was a responsiveness delay.

6            Q.    Responsiveness as in a response to you --

7            A.    Yes.

8            Q.    -- by her?     Okay.

9                  And how were you trying to communicate with her

10     in those instances?        Was it e-mail?        Was it

11     conversations over the phone?            Was it in your early

12     meetings?

13           A.    I don't recall, but practically all of those

14     would have been used.

15           Q.    So if it was a significant problem, then you

16     would have used the VA e-mail system to communicate this

17     with her, correct?

18                 MS. SMITH:     Objection; calls for speculation,

19     vague.

20     BY MR. HOYER:

21           Q.    You can answer.

22           A.    I often had deadlines to deal with.           And if

23     there was no response, then I'd have to take care of the

24     problem a different way, and often by myself or through

25     the resources that I had.

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1            Q.   What resources did you have?

2            A.   I had practice managers.          I had a data manager

3      for the system, that sort of thing.

4            Q.   Was there a support staff in Sacramento that

5      could help with the data entry?

6            A.   Limited, but I believe the answer was yes for

7      most of the period.

8            Q.   Okay.    What about Martinez?         Was there a

9      support staff in Martinez that could help?

10           A.   It depends on the period in question.           That's a

11     specific that I don't recall.

12           Q.   Okay.    Were you involved in removing any

13     support staff in Martinez, support staff for Dr. Velez?

14           A.   Unknown.     I'd be surprised if I was.        However,

15     as people were sick, or we had a problem that needed to

16     be taken care of, and if Dr. Velez wasn't there to make

17     that decision, sometimes it would get kicked up to me.

18     So it's possible, but I don't recall any specifics.

19           Q.   All right.     I'll scroll down.

20                So during the time that Dr. Velez worked for

21     you, you didn't understand her to be Hispanic, and so

22     Mr. Barthel e-mailed you an affidavit in connection with

23     this e-mail exchange?

24           A.   Yes.    I was responding to the affidavit he sent

25     me.

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1            Q.   So until that time, you didn't understand her

2      to be Hispanic; is that correct?

3            A.   Correct.

4                 MR. HOYER:     Let's go off the record for a

5      second.

6                 (Discussion off the record.)

7                 (Recess.)

8                 MR. HOYER:     I'll share Exhibit 6.            Can

9      everybody see it?

10                MS. LINCOLN:      Yes.

11                MS. SMITH:     Yes.

12                THE WITNESS:      Yes.

13                (Plaintiff's Exhibit 6 marked.)

14     BY MR. HOYER:

15           Q.   Dr. Hundahl, this is a fairly lengthy exhibit,

16     and I'll ask before I direct --

17           A.   What is the date of this, sir?

18           Q.   Sure.    Let's see.      It's all the way at the

19     bottom.    Let me drag you to the bottom.               May 20, 2019.

20     Before I direct you to reviewing the whole thing, I'm

21     not sure whether you actually have seen this before.                     So

22     I'll ask that first.

23           A.   You know, I'm not sure I have seen that.                  I

24     wonder if I was out for my hip surgery when a lot of

25     this stuff occurred.

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1            Q.   Have you participated in an ORM investigation

2      before?

3            A.   Yes.

4            Q.   Okay.    So you are familiar with sort of the

5      general format of this report?

6            A.   I've seen other ORM reports, yes.

7            Q.   Actually, I have a specific question, and I'd

8      like to see if you can answer it because it's actually a

9      factual question.       It's not really about the report.

10                On page 4 of the report, it summarizes the

11     testimony of Dr. Velez, and one of the statements that

12     she makes down at the bottom is -- I highlighted it here

13     -- "However, RMO Hundahl, with Dr. Cahill's support, has

14     moved all positions under the section chiefs based in

15     Sacramento."

16                Is that a correct statement factually?

17           A.   I can't recall, to tell you the truth.             I seem

18     to recall that we had a chief of the eye service that

19     was based in Martinez, who is active at UC Davis, active

20     at Martinez and senior and respected.               I mean, it upsets

21     me I can't remember her name right now.

22           Q.   I am not sure how that's responsive to my

23     question whether --

24           A.   She was a division chief for ophthalmology.

25           Q.   I see.    And your memory is that she may not

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1      have been moved to Sacramento?

2              A.     I think she stayed in Martinez.

3              Q.     I see.    Okay.

4              A.     Linda Margulies.          That's her name.        She was a

5      professor of ophthalmology at UC Davis and chief of the

6      eye service for VA Northern California for a long, long

7      time.        I recall going down to Martinez for a ceremony,

8      either celebrating 30 years of service to the VA, or --

9      maybe it was her retirement, a very significant VA

10     employee.

11                    (Plaintiff's Exhibit 7 marked.)

12                    MR. HOYER:      All right.      Can everybody see

13     Exhibit 7 there?

14                    MS. LINCOLN:       Yes.

15                    MS. SMITH:      Yes.

16     BY MR. HOYER:

17             Q.     "Pending appointment summary by service," dated

18     June of 2019.

19                    Can you see that Dr. Hundahl?

20             A.     I can see part of it, yeah.

21             Q.     Okay.    Just tell me when you want me to scroll

22     down.

23             A.     Scroll down just a little bit.                That's good.

24     Thank you.        That's from a report that I've seen before.

25     Every quarter, we get new reports.                  Actually, our data

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1      manager would provide updates for those reports much

2      more frequently than that.

3            Q.    Okay.     Did you review every update or just the

4      quarterly report?

5            A.    It would depend on the area, and whether it was

6      an area we were addressing actively, whether we were

7      moving resources, personnel, offering patients visits in

8      other sites, that sort of thing.

9            Q.    So I'm scrolling down.          The second page is

10     entitled "Total Wait Table."

11                 And can you tell me, how does this differ from

12     the first page of Exhibit 7?

13           A.    The first page may have been site specific.

14     Can you scroll back up?          I can't tell whether this is a

15     site-specific report or a global report.                  This is

16     extracted from, you know, a ream of data.

17           Q.    Okay.     So I'm not sure whether you answered the

18     question.

19           A.    I'm not sure I can.

20           Q.    Okay.     It seems to be a different format

21     visually from the first page, though, right?

22           A.    Welcome to my previous world and Dr. Velez's

23     world.

24           Q.    So down at the bottom, there is an asterisk on

25     page 2 here.        The source is VSSC.

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1                  What does that mean?

2            A.    It's a VA data warehouse actually.

3            Q.    Okay.   And the source on the first page is FSR.

4                  What does that mean?

5            A.    That may be one of the facility specific

6      reports.

7            Q.    Okay.

8            A.    The initials might mean facility specific

9      report.     It's a sub-report.

10           Q.    Okay.   And then the third page is a different

11     total wait table from page 2.

12                 Can you tell how this differs from page 2?

13           A.    You know, this stuff is getting cherry picked

14     out of a ream of reports, and I can't interpret them for

15     you as well as I'd like.

16           Q.    Okay.   Well, we are just showing you as they

17     have been produced by the US Attorney's Office.             So I

18     don't know -- if somebody did cherry picking, it wasn't

19     us.

20                 MS. SMITH:     Objection to the extent of the

21     question.

22     BY MR. HOYER:

23           Q.    So looking at the first page, can one tell, as

24     least as of June 2019, how big a problem the vascular

25     surgery wait times were compared to the other surgeries?

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1                 MS. SMITH:     Objection; vague.

2      BY MR. HOYER:

3            Q.   You can answer.

4            A.   Well, you know, in terms of penalties for wait

5      times out of bounds, those rules tended to apply to all

6      the different specialties.          There is a big difference

7      between wait time and say something like -- what would

8      be a good example?       Perhaps ophthalmology where you are

9      talking about cataracts and things like that versus

10     vascular surgery where sometimes it's a limb loss

11     situation.

12                Podiatry, tough to judge.           Most of those issues

13     had to do with toenails and bunions and stuff like that.

14     Occasionally, somebody who actually has a vascular

15     problem would be identified in the podiatry clinic and

16     sent over for urgent vascular consultation.             So you get

17     the picture.     The numbers accurately reflect appointment

18     waits, not the clinical urgency of the patient, but it

19     provides a metric, which all VAs across the country were

20     following.

21           Q.   What's the difference between the column "EST

22     and the column "New"?

23           A.   New refers to a new patient that's not been

24     seen in that clinic within the last year, and EST is an

25     established patient who is simply coming back for a

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1      follow-up visit.

2            Q.    So is it fair to say that just looking at this

3      table, it's not possible -- how big a problem the wait

4      times were for vascular surgery?

5            A.    There were some problems -- some waits in

6      vascular surgery.        Some were greater than 28 days.         Some

7      greater than 30 days.         Fortunately, none greater than

8      90 days.

9            Q.    Isn't it true that during the last five years

10     that you were there, if there was a problem with wait

11     times in vascular surgery, it was in Sacramento, not

12     Martinez?

13                 MS. SMITH:     Objection.

14     BY MR. HOYER:

15           Q.    You can answer.

16           A.    The vast majority of patients in our system

17     were seen in Sacramento, the vast majority.              Most of the

18     requests for appointments were in Sacramento because of

19     the capabilities in the ORs and the personnel, et

20     cetera.

21           Q.    Well, my question was not about the whole

22     numbers of patients.        It was about the wait time

23     problem.

24           A.    There is no way I can remember that.

25           Q.    Okay.   Looking at page 2 of the exhibit -- this

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1      is Bates USA005589.

2                 Is there a difference between peripheral

3      vascular and other types of vascular?

4            A.   Yeah.    There is a vascular laboratory where

5      noninvasive testing is done, doppler and ankle, arm

6      index measurements and things like that.                Vascular lab

7      testing is pretty sophisticated these days.

8            Q.   But peripheral vascular was a type of surgery

9      that Dr. Velez did?

10           A.   Yes, as opposed to vascular and other areas of

11     the body often done by cardiac surgeons.

12           Q.   Okay.    Is it possible to tell from this page

13     how big a problem the wait times for vascular peripheral

14     surgery was?

15                MS. SMITH:     Objection.

16                THE WITNESS:      You are showing snapshots.          You

17     know, these are big systems.          Trended data is what the

18     VA tended to respond to.         Yes, the snapshots were

19     getting everybody's attention when there was a big

20     problem, the trend and how resources were managed or

21     what the chief surgical consultant would focus on, and

22     what the national chief of surgery would focus on.

23     BY MR. HOYER:

24           Q.   Well, based on your regular review of these

25     reports, as you sit here today, you don't look at the

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1      numbers in peripheral vascular on this spreadsheet and

2      say, "Wow, that's obviously a big problem"?

3                     MS. SMITH:     Objection; calls for speculation.

4                     MS. LINCOLN:      Join.

5      BY MR. HOYER:

6              Q.     Yes?

7              A.     I don't know.      I'd have to look at the trend.

8      You know, also, when there are problems, sometimes it's

9      because somebody is out ill unexpectedly.                   Sometimes

10     it's due to vacation.            The numbers bounce around.         The

11     trend analysis is important.              Sorry.     We've been going

12     so long.        I've lost my light.         Let me turn on the other

13     light.        That's a sign when the light bulbs are burning

14     out.     Back on.

15             Q.     Okay.   Great.

16             A.     I see your screen, and I'm daunted by it.

17             Q.     It really is kind of ridiculous, isn't it?

18     Okay.        Let me see if I can magnify it.

19             A.     Good.   Now, other people can share our

20     frustration with these reports.

21                    (Plaintiff's Exhibit 8 marked.)

22     BY MR. HOYER:

23             Q.     Let's see.     So this is Exhibit 8, "Patient Wait

24     Times."        This has a broken out fiscal year.

25                    What's the fiscal year in the VA, different

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1      than the calendar year?

2              A.   You know, yes, it is different.               The fiscal

3      year for the federal government ends at the end of

4      September, and the new fiscal year begins in October.                     I

5      think when this system was set up, it confirmed that

6      federal fiscal year definition.

7              Q.   Okay.   So this has by location, and Martinez is

8      actually broken out in this spreadsheet for 2018 and

9      scrolling down it has it by --

10             A.   Yeah.   So it's sort of a month-by-month

11     breakdown for the Martinez site, and -- you know, I'm

12     not going to be able to help you with this report.

13             Q.   Did you not review this type of report as part

14     of your regular duties?

15             A.   I may have in a previous life.               I retired in

16     2019.

17             Q.   But as you look at this, you couldn't tell how

18     big a problem vascular surgery wait types were in

19     Martinez?      Is that --

20                  MS. SMITH:     Objection --

21     BY MR. HOYER:

22             Q.   -- what you are saying?

23                  MS. SMITH:     Objection' misstates the witness's

24     testimony.

25     BY MR. HOYER:

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1            Q.   You can answer.

2            A.   This is, again, a breakdown in a big report,

3      and, you know, I'd have to spend a fair amount of time

4      to figure out, you know, what this means, where the

5      problems are, et cetera.

6            Q.   What do you mean "a fair amount of time"?

7            A.   More time than you'd want to spend.

8            Q.   As in hours or as in --

9            A.   Yeah.     The complexities and intricacies of this

10     system are daunting.        Sometimes the definitions are not

11     what you'd think they'd be, and you have to live with

12     this data for a long time and trend it in order to get a

13     feel for it.       Thank goodness my feeling for it kind of

14     stopped.     I retired.

15                MR. HOYER:      Okay.     Fair enough.        Here we have

16     Exhibit 9.

17                (Plaintiff's Exhibit 9 marked.)

18     BY MR. HOYER:

19           Q.   It's a letter dated November 22, 2019, from

20     Thomas White, and I'll let you review it.                 Tell me when

21     you are done.

22           A.   Sir, scroll up.         What's the date of the letter?

23           Q.   November 22, 2019.

24           A.   Okay.     So eight days before my official

25     retirement date.       Okay.    Got it.      Well, I can see why

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1      Dr. White didn't come to my retirement party.

2                  Most of what he says in this is unsound.            There

3      are peer review issues involved here.               Dr. White ran

4      afoul of peer review in a big way.              Based on evidence of

5      patient harm, he was referred to the state medical

6      board, and I believe he gave up his medical license.

7            Q.    Prior to today, have you seen this letter?

8            A.    I don't recall.       I don't think so.

9            Q.    The statement in the first paragraph that he

10     personally filed complaints twice against Dr. Hundahl.

11     Is that news to you, or were you familiar with that?

12           A.    I'm not sure about that.          You know, as chief of

13     surgery, any time someone has an issue with peer review,

14     it sort of gets routed to me.            I just don't recall.

15           Q.    Okay.   It says in the second paragraph, "In

16     September 2013, I found a message on my home phone from

17     a VA secretary that my medical privileges at the VA were

18     suspended, and I was forbidden to enter the Martinez VA

19     building.     No reason was given."

20                 Did you have someone leave a message on his

21     home phone to that effect?

22           A.    You know, I think he was suspended, and I don't

23     recall the reasons for it.           That's never a unilateral

24     decision.

25           Q.    Who else was involved in that decision?

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1            A.    The director, site director, that sort of

2      thing.     Chief of staff as well.

3            Q.    Okay.   So the chief of staff --

4                  Who was the site director in that instance?

5            A.    The site director probably would have found out

6      about it when I did.        The division chief for head and

7      neck surgery would have been aware.              The head of our

8      peer review system would have been aware.                The director

9      would have been aware of any action.

10           Q.    Okay.   The next sentence says, "However, I

11     never received any adverse fitness reports, complaints

12     or warnings."

13                 Was that true at the time that the message was

14     left on his home phone?

15                 MS. LINCOLN:      Objection; calls for speculation.

16                 MS. SMITH:     I join.

17                 THE WITNESS:      And I don't know.

18     BY MR. HOYER:

19           Q.    Okay.   Then it says, "The following weeks

20     revealed that my suspension had been orchestrated by Dr.

21     Hundahl who had met me only twice"; is that correct,

22     that statement?

23           A.    I have no way of judging.           I don't know.    It's

24     unlikely that that action would have been taken or could

25     have been taken unilaterally anyway.

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1             Q.   Well, it just says that it was orchestrated by

2      you.     Is that true?

3             A.   In the sense that I was the chief supervisor

4      for the department of surgery, but there is a lot more

5      to it.

6             Q.   What more is there?

7             A.   Peer review system, individual peer reviews,

8      that sort of thing.       You know, if this becomes an issue,

9      believe me a whole mess of specific cases that were

10     outside the norms of good and acceptable care were

11     delivered to the state medical board concerning this

12     individual.

13            Q.   And was it true that the staff by laws were

14     ignored, and he was allowed no defense?

15            A.   I don't know, and I doubt it.

16            Q.   Why do you doubt it if you don't know?

17            A.   Because we try to follow the by-laws for the VA

18     in this matter.      Actually, we were constrained by

19     federal peer review guidelines.           They eclipsed our local

20     by-laws.

21            Q.   When you say "constrained," how were you

22     constrained?

23            A.   We had to follow federal law.

24            Q.   Was that a problem?

25            A.   It often was when there was conflict between

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1      local law and federal law.             During the date mentioned in

2      the second paragraph, I don't think they'd been

3      harmonized yet.

4              Q.   Did federal law make it difficult or impossible

5      to achieve the result that you wanted to see in this

6      case?

7                   MS. SMITH:     Objection; calls for speculation,

8      assumes facts not established.

9                   THE WITNESS:      Yeah.     I mean, I don't recall.     I

10     can't answer that question.

11     BY MR. HOYER:

12             Q.   Okay.   So the next paragraph partway down says,

13     "Only Dr. Pauline Velez offered support and advice for

14     me outside of my suspension and was willing to testify

15     in court."

16                  Do you recall her testifying in support of him?

17             A.   No.

18             Q.   He says at the end of the second paragraph,

19     "Subsequently, I filed two EEO complaints, which both

20     found in my favor."

21                  Do you know whether that's a correct statement?

22             A.   I don't know.

23             Q.   Were you notified that any EEO complaint that

24     named you went against you?

25             A.   I don't recall any going against me, frankly.

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1              Q.     Okay.

2              A.     And EEO complaints, you know, can get routed

3      through my desk even for things I have very little to do

4      with.        It comes with the title.

5              Q.     Do you believe that the EEO complaints named in

6      this letter didn't have anything to do with you?

7                     MS. LINCOLN:      Objection; calls for speculation.

8                     THE WITNESS:      I believe they had to do with

9      serious peer review issues and patient care issues.

10     BY MR. HOYER:

11             Q.     Okay.   Actually, rather than drag you through

12     this particular exhibit because I don't think that you

13     saw a copy of --

14             A.     This was filed long after my retirement.

15             Q.     Yeah.   So I'm going to not mark this as an

16     exhibit.        I do have some specific questions though.

17                    Now, do you remember a urologist by the name of

18     Dow, Dr. James Dow?

19             A.     Yes.

20             Q.     And he was of Korean descent?

21                    MS. LINCOLN:      Objection; calls for speculation.

22                    THE WITNESS:      Yeah.    I don't know specifically.

23     I always thought he had some Japanese in there

24     somewhere, too.

25     BY MR. HOYER:

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1            Q.   Okay.    Did you ask that he undergo a medical

2      fitness for duty assessment at any point?

3            A.   I may have.

4            Q.   Okay.    Now, he had a heart attack and a

5      coronary bypass.

6                 Before he came back to work, you had him

7      undergo a medical fitness for duty assessment?

8            A.   Probably.

9            Q.   Okay.    And did you always ask that doctors

10     undergo a fitness for duty assessment if they had some

11     cardiac event before they came back to work?

12           A.   It depends on the nature of the illness, the

13     length of the absence, and that alone was not unusual.

14           Q.   Do you remember a Dr. John Green?

15           A.   Yes.    He was not a surgeon, but I knew him as a

16     Martinez employee.       I believe he chaired our credentials

17     committee or co-chaired it with the chief of staff for

18     many years.

19           Q.   Now, he had several cardiac events, correct?

20                MS. LINCOLN:      Objection; calls for speculation.

21                THE WITNESS:      Not my employee.           What I know is

22     just sort of what I know through casual rumor and

23     observation.

24     BY MR. HOYER:

25           Q.   Okay.    Dr. Jerome Morgan, are you familiar with

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1      Dr. Morgan?

2             A.   The name rings a bell, but frankly -- was he a

3      urologist?

4             Q.   He had extended medical problems affecting his

5      ability to operate?

6             A.   I don't recall the details of that.

7             Q.   What about Dr. Malcolm Scott?           Do you remember

8      him?

9             A.   I don't recall details of that employee.           I

10     believe he was a surgeon at Martinez.

11            Q.   Dr. Catherine Forest?

12            A.   Surgeon at Martinez.

13            Q.   Did you propose to not renew her credentials

14     based on a sense that she appeared to be very frail

15     after her cancer treatments?

16            A.   I received specific complaints by personnel at

17     the Martinez OR, and the anesthesiologist working with

18     her.    They were seriously problematic and recurrent and

19     reproduced.

20            Q.   And Dr. Forest, did she file an EEO complaint

21     against you, to your knowledge?

22            A.   I believe she did.

23            Q.   Do you know what the results of that complaint

24     was?

25            A.   No, I do not.

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1            Q.    Dr. Scott, you said he was a surgeon at

2      Martinez?

3            A.    I don't recall, frankly.          I frankly don't

4      recall.

5            Q.    Okay.   Dr. White -- we saw the previous exhibit

6      -- there was a letter from him about you.

7                  Now, did you report a review of his clinical

8      care through Dr. Orisek?

9            A.    Perhaps you better spell the last name.             I

10     don't recognize what you pronounced.

11           Q.    It's O-r-i-s-e-k.

12           A.    Oh, Orisek, yes.       He was the chief of ENT, head

13     and neck surgery.

14           Q.    And did you request a review of White's

15     clinical care through Dr. Orisek?

16           A.    Dr. Orisek requested that review of me.             It

17     came across my desk for approval, and I approved the

18     review.     Again, this is a peer review issue protected at

19     the time.

20           Q.    And was Dr. White already the subject of a

21     different peer review?

22           A.    Yes.

23           Q.    And what was the purpose of a second review?

24           A.    You are asking peer review issues which are,

25     you know --

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1                  MS. SMITH:     Objection.

2                  THE WITNESS:     -- not to be answered while they

3      are ongoing.     This is a closed case, and I'm not sure

4      whether the medical board had an agreement with Dr.

5      White.     This is the California Medical Board.

6      BY MR. HOYER:

7            Q.    I'm not sure what your answer means.

8            A.    The peer review issues, serious patient care

9      problems.

10           Q.    My question --

11           A.    You are criticizing me, sir, for doing my job.

12           Q.    I'm asking questions, sir.

13                 MS. SMITH:     Dr. Hundahl, based on your

14     understanding of the law, are you permitted to discuss

15     the substance of peer review cases?

16                 THE WITNESS:     There is a point when I can, and

17     I don't know specifically whether Dr. White had an

18     agreement with the California State Medical Board.              I

19     don't recall details of how that was eventually settled.

20                 MS. SMITH:     But at this point, you are not

21     comfortable answering specific questions?

22                 THE WITNESS:     Correct.

23                 MR. HOYER:     Leading.     That's leading.    It's not

24     your examination, Ms. Smith, and it's a leading

25     question.

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1                 MS. SMITH:     I understand --

2                 MR. HOYER:     You are counseling the witness who

3      is not your client to refuse to answer questions based

4      on an understanding of the law, which he is not

5      qualified to testify to.         I'd ask you to refrain from

6      coaching a witness who is not even your witness.

7                 MS. SMITH:     Mr. Hoyer, I disagree with your

8      characterization of coaching.           The witness has stated

9      his understanding --

10                MR. HOYER:     No, no, no.       Quit testifying.    Quit

11     testifying.     You are testifying, and you are further

12     coaching him.

13                MS. SMITH:     Mr. Hoyer --

14                MS. LINCOLN:      Okay.    Counsel, I'm now going to

15     speak on behalf of Dr. Hundahl.           If Dr. Hundahl believes

16     that he is not able legally to testify about the

17     substance of a peer review, I will advise him not to

18     answer questions.       It sounds as though Dr. Hundahl

19     believes there is a point in time when he may.

20                If you are asking questions that fall within

21     his understanding of a point in time where he can, then

22     he may go ahead.      If it's covered by a period of time

23     when he think he cannot respond, I'm going to advise you

24     not to.

25     BY MR. HOYER:

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1              Q.     My question is simply about why a second peer

2      review was approved by you while there was already one

3      being conducted against Dr. White.

4              A.     That occurs when additional cases are uncovered

5      as a result of review of cases.

6              Q.     And who initiated this review of cases?

7              A.     It probably would have been the head of the ENT

8      division.

9              Q.     When you say "probably," why do you say

10     probably?

11             A.     Sometimes it's an individual clinician expert

12     who did the peer review who suggested it's a serious

13     problem, and sometimes they know that there is a

14     pattern.

15             Q.     You said "sometimes."

16                    In this case, you are sure it wasn't you that

17     initiated that second review?

18             A.     I probably approved the process and took steps

19     to ensure a quality, fair review.              Again, the reason for

20     a peer review system is to ultimately improve patient

21     care.        There is a big overlap with basic patient safety.

22                    What we do in surgery is dangerous, and we take

23     organizational steps to protect our patients.              The

24     system of review at the professional level and the

25     community level sometimes differs with federal rules,

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1      and it places federal peer reviewers often in a very

2      difficult position.

3            Q.   Okay.    With respect to the initial peer review

4      --

5            A.   I don't recall the details of dates and cases

6      for the practitioner you are mentioning, Dr. White.

7            Q.   Well, I wasn't going to ask about the details

8      of particular cases.       I was just going to ask whether

9      any adverse outcomes were identified --

10           A.   Yes.

11           Q.   -- in the national review?

12           A.   Yes.

13           Q.   And in the second review, were there any

14     adverse outcomes identified?

15           A.   Yes.

16           Q.   And these were the result of Dr. White's

17     failure to render the standard of care?

18           A.   Yes.

19           Q.   Did you believe that Dr. White was too old to

20     be working in his position at that point?

21                MS. SMITH:     Objection.

22                THE WITNESS:      Age doesn't have anything to do

23     with it.    It was performance.

24     BY MR. HOYER:

25           Q.   Turning to Dr. Lee, did you ever tell Dr. Lee

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1      that you were going to initiate a peer review based on a

2      patient stroke that you allege was due to his lack of

3      care?

4              A.   Peer reviews are automatically triggered by

5      major adverse events, and a major stroke is one of the

6      triggering events.

7              Q.   Did you have any conversations with Dr. Lee to

8      the extent that you thought he was responsible for the

9      patient's stroke?

10             A.   I don't recall details of the individual

11     triggering case.        And if he was the operating surgeon,

12     then, yes, he would have been subject to the peer

13     review.      The peer review in and of itself is not

14     adverse.

15             Q.   The question is whether you had a conversation

16     with Dr. Lee accusing him of being responsible for the

17     patient's stroke?

18             A.   I don't recall.

19             Q.   Now, you said earlier that Sandra Martin didn't

20     get along with Dr. Lazzarino?

21             A.   As I recall, looking back, that was my

22     impression.

23             Q.   And did you know that at the time when you put

24     Dr. Lazzarino over Dr. Martin as her supervisor?

25             A.   Unknown.    I don't recall any of that.       I do

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1      recall they competed for the same job, and a committee

2      chose somebody else over Dr. Martin.              He was chief of

3      podiatry.

4            Q.    Did you ever tell Dr. Lee that you were angry

5      at Dr. Velez for her helping protect employees against

6      retaliation?

7            A.    I don't recall.

8            Q.    Did Dr. Velez warn you repeatedly of Dr.

9      Lazzarino's questionable practices before you referred

10     him to the OIG?

11                 MS. SMITH:     Objection; vague.

12     BY MR. HOYER:

13           Q.    You can answer.

14           A.    I don't recall, and I wonder how she could know

15     anyway since they worked on different sites, and she was

16     in the vascular area.         I guess it's possible she may

17     have seen a patient that he managed at some point, and

18     she could have referred that patient for peer review if

19     that was an issue.

20                 MR. HOYER:     We'll look at the next Exhibit.

21     This will be Exhibit 10.

22                 (Plaintiff's Exhibit 10 marked.)

23     BY MR. HOYER:

24           Q.    Okay.   So this purports to be a memo to the

25     chief medical officer, VA Sierra Pacific Network, from

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1      the review team.           It's dated May 16, 2011.

2                     Have you seen this document before, sir?

3              A.     I may have.      I don't recall.

4              Q.     Why don't we scroll through it?               Let me know

5      when you want me to scroll down.

6              A.     You can scroll down.          Scroll up one sentence.

7              Q.     Scroll up?

8              A.     There we go.       Scroll down, scroll down, scroll

9      down.        Scroll up a bit.       So this was filed, again, well

10     after my retirement.            It's page 153 of 162-page report.

11     Okay.        Got it.     I'll continue reading this page.

12             Q.     Actually, sir, the document itself is dated

13     much earlier.           I'll just scroll to the top.            May 16,

14     2011.

15             A.     Okay.

16             Q.     Referring to the date of filing here, that's

17     the filing date in the legal case.

18             A.     Okay.

19             Q.     Okay.     So where were we?        We were here, I

20     think.        Just tell me when you need me to scroll down.

21             A.     You can continue scrolling.            You can continue

22     scrolling.           You can continue scrolling, up a couple of

23     sentences.           You can scroll up.

24             Q.     Scroll up or down?

25             A.     Up.

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1            Q.   Okay.

2            A.   I'm sorry.     Continue going down.          Go up a

3      little bit, stop there.        Okay.     Scroll up.      You can

4      continue to the end.       Thank you.

5            Q.   Before we look at this document, I just had a

6      couple of follow-up questions.

7                 Now, you referred Dr. White to the medical

8      board, correct?

9            A.   Our peer review office, the chief of staff, and

10     the director ultimately made that referral, but that was

11     after a long, long vetting process.

12           Q.   Did you have any involvement in the process?

13           A.   I'm sure I would have had to approve that

14     process at some step.

15           Q.   Okay.    And that was 18 months after Dr. White

16     left the VA?

17           A.   I don't recall.

18           Q.   It was after he left the VA, though, wasn't it?

19           A.   You have the dates.

20           Q.   I'm asking you, sir.

21           A.   I don't recall.

22           Q.   Okay.    And Dr. White had made an allegation of

23     age discrimination against you, correct?

24           A.   I don't recall, but possibly.

25           Q.   And there was a finding of age discrimination

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1      against you, wasn't there?

2                 MS. LINCOLN:      Objection; calls for speculation.

3      BY MR. HOYER:

4            Q.   You can answer.

5            A.   I don't know, and I doubt it.            This was a

6      performance-related matter and a peer review matter.

7            Q.   And the medical board forced him to surrender

8      his license?      Is that what happened?

9            A.   I don't recall specifically.            There was some

10     sort of back and forth.        He either surrendered his

11     license voluntarily, or they took it.

12           Q.   Isn't it true that he got a reprimand for two

13     infractions and has a current medical license?

14                MS. LINCOLN:      Objection; calls for speculation.

15     BY MR. HOYER:

16           Q.   You can answer.

17           A.   I don't know.

18           Q.   All right.     Turning back to Exhibit 10, have

19     you seen this document before today?

20           A.   What is Exhibit 10?        Is this the thing you are

21     scrolling up and down on?

22           Q.   Yes.

23           A.   Yes.    I saw that shortly after my return from

24     giving an international talk in Berlin.                 It was

25     literally the day after I had arrived back.                 I didn't

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1      know about this review.

2                 I might add that this review was conducted

3      outside of the normal review of surgical programs for

4      the VA at that time.       It was a private review that our

5      chief of staff -- I think Dr. O'Neill at that time --

6      requested of the chief medical officer.

7                 He was aware of problems with our anesthesia

8      service and with canceled cases that were high, and the

9      cause was traced to anesthesiology care, and there were

10     quality problems there as well.

11           Q.   Were there any adverse findings against you?

12                MS. SMITH:     Objection; vague, speculative.

13                MS. LINCOLN:      Join.

14     BY MR. HOYER:

15           Q.   You can answer.

16           A.   There were accusations in the report, and

17     accusations by anesthesia personnel working at the

18     Sacramento facility.

19           Q.   Were the accusations against you false?

20           A.   I believe so.

21           Q.   Okay.    And so any findings in the report

22     otherwise would be inaccurate?

23                MS. SMITH:     Objection.

24                THE WITNESS:      I don't think the whole report

25     can be condemned based on identifiable problems.             You

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1      know, the VA had a system for reviewing surgical

2      programs.      Despite our problems with the anesthesiology,

3      our overall surgical metrics were actually quite good.

4                   Juggling a department of surgery in the VA, and

5      particularly the VA in Northern California, particularly

6      Mather at this time was very difficult.                 Our system was

7      growing very quickly.        Our budget was insufficient for

8      the tasking because of the VA budget model, and our

9      anesthesiology department was understaffed.                 We had

10     trouble recruiting anesthesiologists.

11                  The major problem was salary, and the salary

12     proposals around that time that were recommended by our

13     salary review board were rejected by our chief of staff

14     at that time, and that led to some problems down the

15     line.

16                  They started to hire good people.             If you can't

17     hire good people, you need to hire temporary employees.

18     Anesthesiology is sort of an important key service for

19     managing an operating room obviously.              The

20     anesthesiologists also wanted their own chief of

21     anesthesiology, and I think a chief of anesthesiology

22     was hired after this.

23     BY MR. HOYER:

24             Q.   So on page 2, it says, "The following

25     individuals were interviewed in group or individually."

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1       There is you and 25 other people.

2                  Would you say those people were --

3             A.   I'm sorry.     I'm not listed on that except at

4       the very end, and that was when they delivered their

5       report to me.

6             Q.   So you are saying --

7             A.   It was a verbal report.          I had just gotten back

8       from an international lecture in Berlin, and I did meet

9       with them.    They seemed like a reasonable group.

10            Q.   I'm sorry, sir.       Are you saying that despite

11      the fact that it says, "The following individuals were

12      interviewed in group or individually," and it list you

13      as number 26, that, in fact, they did not interview you?

14            A.   Only at the end to present their report and

15      findings and discuss their conclusions.

16            Q.   When you say "the end," do you mean after this

17      document was produced?

18            A.   The review team was made up of one chief of

19      surgery from Loma Linda, which is not in our VA system,

20      or an anesthesia recovery room manager, and one

21      anesthesiologist, I believe.

22            Q.   My question is whether they interviewed you

23      before you received this report.

24            A.   They met with me before I received this report,

25      I believe, yes.

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1             Q.   Okay.

2             A.   I think they presented their findings as part

3       of an exit interview.         That was when I had just gotten

4       back from Berlin.       You are testing my memory.

5             Q.   I'm just trying to figure out what your memory

6       is.

7                  The other people that are listed as having been

8       interviewed, are they familiar with your management

9       style?

10                 MS. LINCOLN:       Objection; calls for speculation.

11      BY MR. HOYER:

12            Q.   You can answer.

13            A.   Most of the people on that list don't know what

14      my management, frankly, involves.             Cahill was new in

15      those days.       Arnoldas Kungys, he was chief of

16      orthopedics.

17            Q.   Well, sir, you are skipping over a couple of

18      people.    Candice Kenner?

19            A.   I don't remember her.

20            Q.   Karen Kunz?

21            A.   I know the name.

22            Q.   Did you work with her?

23            A.   In the operating room as an OR nurse.

24            Q.   Edith Bautista?

25            A.   Yes.

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1               Q.   Did you work with David Bell?

2               A.   Anesthesiologist.         At the time, Dr. Bautista

3       and Dr. Bell were clamoring for a separate department of

4       anesthesia.         They were also clamoring for higher salary.

5       They were unhappy with the anesthesiologists we were

6       hiring.      Dr. Koppie was in urology at that time.             Dr.

7       Zenna Mohr was involved in our data system, the asquib.

8       Janet Donald at that time was still a part-time or

9       fee-basis anesthesiologist, but she subsequently became

10      a full-time anesthesiologist.              I think Dr. Lee was

11      fairly new at that time.            Dr. Velez, I'm sure you know.

12      Cosmin --

13              Q.   Doctor, I'm not asking you to name all the

14      people on the list.

15              A.   I thought you were asking me to review the

16      list.

17              Q.   Well, I was asking whether they worked with you

18      and were aware --

19              A.   Yes.

20              Q.   -- of your management style?

21              A.   They were not aware of my management style.

22      Most of the people on that list were not.

23              Q.   Was anesthesiology part of the department of

24      surgery?

25              A.   Yes.     In those days, they were.

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1              Q.   So if they were an anesthesiologist, they

2       worked for you.       They worked under you, correct?

3              A.   They worked under me, yes.

4              Q.   And what about the chief of the urology

5       division?     Was urology part of surgery?

6              A.   Yes.

7              Q.   So Theresa Koppie worked under you, correct?

8              A.   Yes.

9              Q.   The chief of vascular surgery, Eugene Lee,

10      that's part of the department of surgery, right?

11             A.   Yes.    I don't recall that Dr. Lee was chief of

12      vascular surgery at that time.

13             Q.   Well, assuming that he was, he worked under

14      you, right?

15             A.   Yes.

16             Q.   Pauline Velez worked under you?

17             A.   Yes.

18             Q.   Cosmin Guta worked under you?

19             A.   Yeah.    As an anesthesiologist, I think he did,

20      yes.

21             Q.   Paz Sarao worked for you?

22             A.   Yes.

23             Q.   The nurse manager, Karen Putnam, did she work

24      for you?

25             A.   No.

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1             Q.   Okay.     What about Wiedeman, the chief of

2       general surgery?

3             A.   Yes.

4             Q.   Okay.     Nina Edralin?

5             A.   No.

6             Q.   Okay.     Angela Wang?

7             A.   Yes.     I think she was fee basis at that time.

8             Q.   The people that you said were clamoring for

9       their own department?

10            A.   The anesthesiologists wanted higher pay, and

11      they wanted their own anesthesiology chief.

12            Q.   Well, you used the word "clamoring."

13                 Did you think that their clamoring was

14      unfounded or inappropriate?

15            A.   It was appropriate, and they thought also that

16      it was a route to a higher salary level for at least one

17      of them.

18            Q.   Do you think they did this just out of greed?

19            A.   No.     I think they felt they would function

20      better with their own chief of anesthesiology.

21            Q.   Let's see.      Garcia-Ferrer, chief ophthalmology,

22      Sacramento, did he work under you?

23            A.   Yes.

24            Q.   So all these people that worked for you, you

25      are saying that they weren't familiar with your

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1       management style?

2                  MS. LINCOLN:      Objection; calls for speculation.

3       This witness doesn't know what they knew.

4                  THE WITNESS:      And you don't know what they

5       testified to.      All you have is a summary report from a

6       review committee.

7       BY MR. HOYER:

8             Q.   All I'm asking is whether these people had

9       reason to be familiar with your management style, which

10      you would know because you actually worked with them,

11      didn't you?

12            A.   Some of them, yes.        Some of them, no.    Ask me a

13      specific name, and I'll give you my opinion.

14            Q.   Okay.    So the report talks about findings, and

15      it says down here "Management issues in anesthesiology

16      and surgery."      It says, "Significant management issues

17      were identified, including lack of leadership in

18      anesthesiology, status of anesthesiology as a division

19      of the surgical service, and the management style of the

20      chief of surgery with regard to anesthesia personnel."

21                 You were the chief of surgery, right?

22            A.   Yes.

23            Q.   Okay.    And so you don't think that there's any

24      issue with respect to the management style of you with

25      regard to anesthesia personnel?

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1                  MS. SMITH:     Objection.

2                  THE WITNESS:      You are asking me to think back

3       to 2011.    My recollection is that anesthesiology

4       personnel didn't participate in our department meetings

5       and didn't function as a functional division.              There was

6       a lot of bickering in that division probably because

7       they were overworked and underpaid.

8       BY MR. HOYER:

9             Q.   And it didn't have anything to do with your

10      management style?

11                 MS. SMITH:     Again, calls for speculation.

12      BY MR. HOYER:

13            Q.   Is that right?

14                 MS. LINCOLN:      Objection; calls for speculation.

15      BY MR. HOYER:

16            Q.   You can answer.

17            A.   I take responsibility for what I've done, and

18      how I dealt with the issues that I was faced with.

19      Retrospectively, criticism or criticism by

20      self-interested parties is worth noting, but it may not

21      be the truth.

22            Q.   You don't think it was true?            Is that what you

23      are saying?

24            A.   I'm quite pleased with my management record in

25      the Department of Veterans Affairs.

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1             Q.    And I think you said that anesthesiologists did

2       not participate in the surgery department meetings; is

3       that correct?

4             A.    That was an issue at the time as I recall.

5             Q.    I'm sorry.     I don't think that answers my

6       question.

7                   Did the anesthesiologists participate in the

8       surgery department meetings at the time?

9             A.    Not to the extent that I felt they should.

10            Q.    Okay.   Turning down to "Recurring Themes and

11      Problems Identified in our Interviews," the second

12      sentence says, "The inability to recruit a chief

13      anesthesiologist is probably multifactorial.             Barely

14      competitive salaries, toxic work environment and the

15      perception by some of an overly controlling and somewhat

16      disrespectful chief of surgery."

17                  What was your reaction when you read the

18      statement that there was a perception by some that you

19      were overly controlling and somewhat disrespectful?

20            A.    That's what it says, and I can see why some

21      would have that perception.

22            Q.    And why would some have that perception?

23                  MS. LINCOLN:      Objection; calls for speculation.

24                  THE WITNESS:      You'd have to ask them.

25      BY MR. HOYER:

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1             Q.    If you can see why some would have that

2       perception, what's your basis for saying that?

3             A.    Well, I'm the one charged with responsibility

4       through the overall results and for caring for the

5       patients.

6             Q.    Any other basis for the perception that you

7       were overly controlling and somewhat disrespectful?

8                   MS. SMITH:     Objection.

9                   MS. LINCOLN:     Objection; misstates the

10      testimony.

11                  THE WITNESS:     I don't recall.

12      BY MR. HOYER:

13            Q.    All right.     Scrolling over to the next page in

14      the "Recurring Themes," under finding F, "Chief of

15      surgery doesn't project respect of anesthesia service

16      providers, nursing staff, and office subordinates."

17                  Underneath it, "To summarize the complaints

18      from professional staff, nurses and some doctors, there

19      is a perception that this chief of surgery does not

20      listen, can be vindictive, and can fire people at will.

21      He is not viewed as a very approachable manager to whom

22      one may take problems."

23                  What was your reaction when you read that

24      finding?

25            A.    I'm sorry that was the view.

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1             Q.   Do you think there is any basis in truth for

2       it?

3                  MS. SMITH:     Objection.

4                  THE WITNESS:      It's hard to speculate where

5       perceptions come from.        I'm sorry that that was how I

6       was perceived by those people who gave the review

7       committee that impression.

8       BY MR. HOYER:

9             Q.   Well, I'm not asking you to speculate about

10      what was in their heads.         What I'm asking is based on

11      your own observation of your own behavior.

12                 From your observation of your own behavior, is

13      there any truth to this finding?

14            A.   There may be a kernel of truth of recognizing

15      that when people have a problem that they want to

16      address, and they don't have an appointment, and I've

17      got patients waiting for me in clinic and reports to

18      file and things like that, they may well have perceived

19      that I was trying to rush things along.                 I can see how I

20      could have generated that perception.

21            Q.   What about the vindictive part?

22            A.   Unfair.

23            Q.   So that is false --

24            A.   Unfair.

25            Q.   -- in your view?       Well, is it also false?

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1             A.   Unfair.

2             Q.   That's not the question.          The question is not

3       whether it's fair or not.         It's whether it's factually

4       false.

5             A.   Yes.

6             Q.   Okay.     You've never been vindictive?

7             A.   At some point in my life or career or even at

8       the VA, possibly yes, but I don't recall.

9             Q.   Did you do anything to improve things about

10      what you just called the kernel of truth?

11                 MS. LINCOLN:      Objection; vague, overbroad.

12                 THE WITNESS:      I don't recall.

13      BY MR. HOYER:

14            Q.   Okay.     Did you change your behavior in any way

15      based on the findings in this report?

16                 MS. LINCOLN:      Objection; vague.

17                 THE WITNESS:      I don't recall.

18      BY MR. HOYER:

19            Q.   Did you get any personal coaching as a result

20      of reviewing this report?

21                 MS. LINCOLN:      Objection; vague.

22                 THE WITNESS:      I do recall that there was a

23      chief of surgery in the VA system with many, many years

24      of experience who I think was at Long Beach or Loma

25      Linda, something like that.          Wilson was his last name,

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1       and I spoke with him a number of times over the next

2       several months.

3       BY MR. HOYER:

4             Q.   About what?

5             A.   About VA issues, challenges, how best to handle

6       them, his experience in the VA, and I was happy to hear

7       his advice.

8             Q.   Did you talk about being more respectful to

9       subordinates?

10            A.   No.    Most of the people who have worked me

11      recognize that I am respectful.

12            Q.   It's not the question, sir.

13                 Can you answer the question?

14            A.   Ask your question again.

15            Q.   Did you talk with him about being more

16      respectful to your subordinates?

17                 MS. LINCOLN:      Objection; assumes facts.

18                 THE WITNESS:      No.    I don't think that was

19      something that I was likely to have discussed with that

20      individual.      Frankly, I don't recall the details of our

21      conversations.      You are asking me about something that

22      is over ten years ago.

23      BY MR. HOYER:

24            Q.   Sir, you brought up talking with this

25      individual when I asked you if you did anything to get

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1       personal coaching after reading this report, and you

2       said you talked with this guy in Long Beach.

3                   I'm just wondering, what did you talk about?

4       Did you talk about being more respectful?               Learning how

5       to be more respectful to your subordinates?

6             A.    We talked about running a department of surgery

7       in the VA.

8             Q.    Did you talk about learning how to listen

9       better?

10            A.    I don't think so.       I think those were left to

11      other VA classes and courses and things like that.                I

12      think I discussed practical issues and strategies and

13      ways to improve.

14            Q.    This accusation that you can be vindictive, did

15      you do anything to try to find out how that perception

16      came to be?

17            A.    No, but I suspect it related to quality issues

18      or patient care issues within the department of

19      anesthesiology.

20            Q.    Did you suspect that based on any effort to

21      find out?

22                  MS. LINCOLN:     Objection; vague.

23                  THE WITNESS:     You'll have to be more specific.

24      BY MR. HOYER:

25            Q.    You said you suspected based on quality control

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1       issues, et cetera.

2                   What's your suspicion based on?

3              A.   The anesthesiologists had difficulty with the

4       overall quality of their service at the Mather cite.

5              Q.   And you suspect that's how the impression was

6       given that you can be vindictive?

7                   MS. LINCOLN:       Objection; calls for speculation.

8                   THE WITNESS:       I've taken it about as far as I

9       can.

10      BY MR. HOYER:

11             Q.   Well, I'm just wondering what your suspicion is

12      based on, sir.

13             A.   A dim recollection.

14             Q.   Okay.     Under "Specific Recommendations," number

15      8, "Chief of surgery's management style is very

16      problematic.        This has contributed to the difficulty

17      with anesthesiology service.            We recommend frequent,

18      perhaps weekly, group meetings with the chief of

19      surgery, new chief of anesthesia and chief of staff to

20      keep process on track."

21                  Did those happen?

22             A.   I believe not.       I believe the chief of staff

23      made anesthesiology a new department and hired a chief

24      of anesthesiology.

25             Q.   Okay.

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1             A.    By the way, after that change, as difficult as

2       things were, for about two or three quarters, they got

3       worse.     Then they stabilized and then got much better.

4       So overall, long term, that was the right move.

5             Q.    So that meant that anesthesiology was no longer

6       under you?

7             A.    Correct.

8             Q.    Okay.   Are you familiar with a case of Bonzani

9       versus McDonald?

10            A.    Yes.

11            Q.    Okay.   Were you found in that case to be

12      clearly willfully indifferent to the plaintiff's rights?

13                  MS. LINCOLN:      Objection --

14                  THE WITNESS:      I was dismissed from that case.

15      BY MR. HOYER:

16            Q.    Was there any finding that you were clearly

17      willfully indifferent to the plaintiff's rights?

18                  MS. LINCOLN:      Objection; calls for speculation.

19                  MS. SMITH:     I join in that objection.

20      BY MR. HOYER:

21            Q.    You can answer.

22            A.    I don't recall.

23            Q.    Did the VA indemnify you in that case for your

24      liability as part of the settlement?

25                  MS. LINCOLN:      Objection; calls for speculation.

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1                   MS. SMITH:      I join in that objection.
2       BY MR. HOYER:
3              Q.   You can answer.
4              A.   I don't recall what the VA specifically did.
5                   MR. HOYER:      All right.        I don't have any
6       further questions.
7                   (Time noted:       1:57 p.m.)
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1       STATE OF ___________________)
2       COUNTY OF __________________)
3
4
5
6              I, the undersigned, declare under penalty of
7       perjury that I have read the foregoing transcript, and I
8       have made any corrections, additions, or deletions that
9       I was desirous of making; that the foregoing is a true
10      and correct transcript of my testimony contained
11      therein.
12             EXECUTED this ________ day of _________________,
13      _______, at _____________________, __________________.
                               (City)                           (State)
14
15
                          ______________________________
16                                    SCOTT HUNDAHL
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1                            REPORTER'S CERTIFICATE

2

3                  I, JOANNE BALBONI, CSR No. 10206, Certified

4       Shorthand Reporter, certify:

5                  That the foregoing proceedings were taken

6       remotely before me at the time and place therein set

7       forth, at which time the witness was put under oath by

8       me;

9                  That the testimony of the witness, the questions

10      propounded, and all objections and statements made at

11      the time of the examination were recorded

12      stenographically by me and were thereafter transcribed;

13                 That the foregoing is a true and correct

14      transcript of my shorthand notes so taken.

15                 I further certify that I am not a relative or

16      employee of any attorney of the parties, nor financially

17      interested in the action.

18                 I declare under penalty of perjury under the

19      laws of California that the foregoing is true and

20      correct.     The witness will read and sign.

21                      Dated this 16th day of November 2021.

22

23

24                           <%27410,Signature%>

25                         JOANNE BALBONI, CSR No. 10206

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1      KELLEY M. LINCOLN, ESQ.

2      Klincoln@boutinjones.com

3                                                       November 18, 2021

4      RE: Velez vs. Department Of Veterans Affairs

5      November 1, 2021, Scott Hundahl, JOB NO. 4949856

6      The above-referenced transcript has been

7      completed by Veritext Legal Solutions and

8      review of the transcript is being handled as follows:

9      __ Per CA State Code (CCP 2025.520 (a)-(e)) – Contact Veritext

10        to schedule a time to review the original transcript at

11        a Veritext office.

12     __ Per CA State Code (CCP 2025.520 (a)-(e)) – Locked .PDF

13        Transcript - The witness should review the transcript and

14        make any necessary corrections on the errata pages included

15        below, notating the page and line number of the corrections.

16        The witness should then sign and date the errata and penalty

17        of perjury pages and return the completed pages to all

18        appearing counsel within the period of time determined at

19        the deposition or provided by the Code of Civil Procedure.

20     __ Waiving the CA Code of Civil Procedure per Stipulation of

21        Counsel - Original transcript to be released for signature

22        as determined at the deposition.

23     __ Signature Waived – Reading & Signature was waived at the

24        time of the deposition.

25

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1      _X_ Federal R&S Requested (FRCP 30(e)(1)(B)) – Locked .PDF

2         Transcript - The witness should review the transcript and

3         make any necessary corrections on the errata pages included

4         below, notating the page and line number of the corrections.

5         The witness should then sign and date the errata and penalty

6         of perjury pages and return the completed pages to all

7         appearing counsel within the period of time determined at

8         the deposition or provided by the Federal Rules.

9      __ Federal R&S Not Requested - Reading & Signature was not

10        requested before the completion of the deposition.

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3                             E R R A T A          S H E E T
4      PAGE_____ LINE_____ CHANGE________________________
5      __________________________________________________
6      REASON____________________________________________
7      PAGE_____ LINE_____ CHANGE________________________
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9      REASON____________________________________________
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19     PAGE_____ LINE_____ CHANGE________________________
20     __________________________________________________
21     REASON____________________________________________
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23     ________________________________                    _______________
24     WITNESS                                             Date
25

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                  Federal Rules of Civil Procedure

                                  Rule 30



     (e) Review By the Witness; Changes.

     (1) Review; Statement of Changes. On request by the

     deponent or a party before the deposition is

     completed, the deponent must be allowed 30 days

     after being notified by the officer that the

     transcript or recording is available in which:

     (A) to review the transcript or recording; and

     (B) if there are changes in form or substance, to

     sign a statement listing the changes and the

     reasons for making them.

     (2) Changes Indicated in the Officer's Certificate.

     The officer must note in the certificate prescribed

     by Rule 30(f)(1) whether a review was requested

     and, if so, must attach any changes the deponent

     makes during the 30-day period.




     DISCLAIMER:      THE FOREGOING FEDERAL PROCEDURE RULES

     ARE PROVIDED FOR INFORMATIONAL PURPOSES ONLY.

     THE ABOVE RULES ARE CURRENT AS OF APRIL 1,

     2019.    PLEASE REFER TO THE APPLICABLE FEDERAL RULES

     OF CIVIL PROCEDURE FOR UP-TO-DATE INFORMATION.
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